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                                         ON REHEARING EN BANC

                                                  PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                   No. 22-4609


        UNITED STATES OF AMERICA,

                       Plaintiff – Appellant,

        v.

        RANDY PRICE,

                       Defendant – Appellee.

        ------------------------------

        DISTRICT OF COLUMBIA; CALIFORNIA; COLORADO; CONNECTICUT;
        DELAWARE;   HAWAII;   IDAHO;  ILLINOIS;  MAINE;   MARYLAND;
        MASSACHUSETTS; MICHIGAN; MINNESOTA; NEW JERSEY; NEW MEXICO;
        NEW YORK; NORTH CAROLINA; OHIO; OREGON; PENNSYLVANIA; RHODE
        ISLAND; WASHINGTON; THE COMMONWEALTH OF THE NORTHERN
        MARIANA ISLANDS; EVERYTOWN FOR GUN SAFETY; BRADY; MARCH FOR
        OUR LIVES,

                       Amici Supporting Appellant.


        Appeal from the United States District Court for the Southern District of West Virginia, at
        Charleston. Joseph R. Goodwin, District Judge. (2:22-cr-00097-1)


        Argued: March 20, 2024                                             Decided: August 6, 2024
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        Before DIAZ, Chief Judge, and WILKINSON, NIEMEYER, KING, GREGORY, AGEE,
        WYNN, THACKER, HARRIS, RICHARDSON, QUATTLEBAUM, RUSHING,
        HEYTENS, BENJAMIN, and BERNER, Circuit Judges.


        Reversed and remanded by published opinion. Judge Wynn wrote the majority opinion, in
        which Chief Judge Diaz, Judge Wilkinson, Judge King, Judge Thacker, Judge Harris, Judge
        Heytens, Judge Benjamin, and Judge Berner joined. Judge Niemeyer wrote an opinion
        concurring in the judgment. Judge Agee wrote an opinion concurring in the judgment.
        Judge Quattlebaum wrote an opinion concurring in the judgment, in which Judge Rushing
        joined. Judge Gregory wrote a dissenting opinion. Judge Richardson wrote a dissenting
        opinion.


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        WYNN, Circuit Judge:

               Randy Price was charged in a two-count indictment with possession of a firearm

        with an obliterated serial number, in violation of 18 U.S.C. § 922(k), and possession of a

        firearm by a felon, in violation of 18 U.S.C. § 922(g)(1). After the Supreme Court’s

        decision in New York State Rifle & Pistol Association v. Bruen, 597 U.S. 1 (2022), Price

        moved to dismiss the indictment in its entirety, arguing that both statutes were facially

        unconstitutional. The district court denied his motion to dismiss as to the count charging

        him with a violation of § 922(g)(1) but granted it as to the count charging him with a

        violation of § 922(k), finding that the analysis required under Bruen rendered § 922(k) an

        impermissible restriction on the Second Amendment right to keep and bear arms. The

        Government appealed the dismissal.

               This appeal thus presents us with a single question: Is § 922(k), which bans the

        possession of a firearm with a removed, obliterated, or altered serial number, facially

        unconstitutional in light of the framework Bruen requires us to apply to Second

        Amendment challenges? We conclude that the conduct regulated by § 922(k) does not fall

        within the scope of the right enshrined in the Second Amendment because a firearm with

        a removed, obliterated, or altered serial number is not a weapon in common use for lawful

        purposes. Accordingly, we reverse the dismissal of the § 922(k) count in Price’s indictment

        and remand for further proceedings.

                                                    I.

               On May 3, 2022, Price was charged in a two-count indictment with possession of a

        firearm with an obliterated serial number, in violation of 18 U.S.C. § 922(k), and


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        possession of a firearm by a felon, in violation of 18 U.S.C. § 922(g)(1), after police

        recovered a handgun with an obliterated serial number from his vehicle during a traffic

        stop. Price filed a motion to dismiss the indictment against him, arguing that both

        provisions of § 922 with which he was charged were unconstitutional following the

        Supreme Court’s decision in Bruen. The Government opposed the motion.

               The district court granted in part and denied in part Price’s motion. It held that Bruen

        did not render § 922(g)(1)’s ban on possession of firearms by felons unconstitutional and

        denied the motion as to that count of the indictment. However, because it concluded that

        the conduct prohibited by § 922(k) was protected by the Second Amendment and because

        it could not find a historical tradition of firearm regulation consistent with § 922(k), it

        granted the motion to dismiss the count charging Price with a violation of § 922(k). This

        appeal by the Government followed.

                                                      II.

               We have jurisdiction over this interlocutory appeal pursuant to 18 U.S.C. § 3731,

        which provides in relevant part that the Government may appeal from an “order of a district

        court dismissing an indictment . . . as to any one or more counts.” 18 U.S.C. § 3731; see

        United States v. Wills, 234 F.3d 174, 176 (4th Cir. 2000) (exercising jurisdiction pursuant

        to § 3731 where one count of a two-count indictment was dismissed); United States v.

        Oakar, 111 F.3d 146, 149 (D.C. Cir. 1997) (similar).

               We review a district court’s decision to grant a motion to dismiss an indictment de

        novo. United States v. Wass, 954 F.3d 184, 187 (4th Cir. 2020)




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                                                    III.

               Section 922(k) provides, in relevant part, that “[i]t shall be unlawful for any person

        knowingly . . . to possess . . . any firearm which has had the importer’s or manufacturer’s

        serial number removed, obliterated, or altered and has, at any time, been shipped or

        transported in interstate or foreign commerce.”1 18 U.S.C. § 922(k). Price argues that

        enforcement of this provision violates the Second Amendment. We disagree. To explain

        why, we begin by establishing the framework under which we analyze Second Amendment

        challenges.

               Following the Supreme Court’s decision in District of Columbia v. Heller, 554 U.S.

        570 (2008)—which held that the Second Amendment confers an individual right to possess

        and carry weapons for self-defense—courts throughout the country, including the Fourth

        Circuit, routinely applied a two-step framework to analyze challenges alleging

        infringement of that individual right. Bruen, 597 U.S. at 17.

               At step one of the post-Heller framework, courts analyzed whether the challenged

        law regulated activity that fell within the scope of the Second Amendment right to bear

        arms as “originally understood.” Id. at 18 (quoting Kanter v. Barr, 919 F.3d 437, 441 (7th

        Cir. 2019)); see United States v. Chester, 628 F.3d 673, 680–81 (4th Cir. 2010), abrogated

        by Bruen, 597 U.S. 1. If a court concluded that the activity fell within that scope, then at



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                 Firearms were not required to be manufactured with serial numbers until 1968. See
        Gun Control Act of 1968, Pub. L. No. 90-618, §§ 102, 201, 82 Stat. 1213, 1223, 1230.
        Thus, an individual in possession of a pre-1968 firearm that never bore a serial number is
        not in violation of § 922(k).


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        step two, it analyzed “how close the law [came] to the core of the Second Amendment right

        and the severity of the law’s burden on that right.” Bruen, 597 U.S. at 18 (quoting Kanter,

        919 F.3d at 441); see Chester, 628 F.3d at 682.

               In Bruen, the Supreme Court rejected courts’ post-Heller, two-step framework as

        involving “one step too many.” Bruen, 597 U.S. at 19. Although the Court held that step

        one of that framework was “broadly consistent with Heller, which demands a test rooted

        in the Second Amendment’s text, as informed by history,” it rejected the means-end

        approach of step two. Id. Instead of applying means-end scrutiny to determine whether a

        challenged regulation passes constitutional muster, Bruen set forth a new framework under

        which courts must now analyze Second Amendment challenges: “When the Second

        Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

        protects that conduct. The government must then justify its regulation by demonstrating

        that it is consistent with the Nation’s historical tradition of firearm regulation.” Id. at 24.

        More recently, in United States v. Rahimi, the Supreme Court further clarified that “the

        appropriate analysis involves considering whether the challenged regulation is consistent

        with the principles that underpin our regulatory tradition.” United States v. Rahimi, 144 S.

        Ct. 1889, 1898 (2024).

               Bruen thus establishes a new “two-step evaluation.” Id. at 1928 (Jackson, J.,

        concurring); accord id. at 1932–33 (Thomas, J., dissenting). First, we must ask whether

        the Second Amendment’s plain text covers the conduct at issue. If not, that ends the

        inquiry: the Second Amendment does not apply. Cf. Bevis v. City of Naperville, 85 F.4th

        1175, 1197 (7th Cir. 2023) (noting that its conclusion that the arms at issue were not


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        protected by the Second Amendment was sufficient to resolve the constitutional question

        but nonetheless continuing to the second step of the analysis), cert denied sub nom. Harrel

        v. Raoul, No. 23-877, 2024 WL 3259606 (U.S. July 2, 2024). But if it does, then, second,

        we must ask whether the Government has justified the regulation as consistent with the

        “principles that underpin” our nation’s historical tradition of firearm regulation. Rahimi,

        144 S. Ct. at 1898. Because we conclude below that Price’s challenge falters at step one,

        we need only address what is required at that phase of the analysis.

               Price argues that our inquiry at step one is extremely narrow: that, at least in this

        case, the only relevant question is whether the regulation criminalizes “keep[ing] and

        bear[ing]” any “Arms.” U.S. Const. amend. II. But that argument does not accord with the

        text of the Second Amendment, nor with the analysis put forth in Heller, Bruen, and

        Rahimi.

               The Second Amendment provides that “[a] well regulated Militia, being necessary

        to the security of a free State, the right of the people to keep and bear Arms, shall not be

        infringed.” Id. The phrase “keep and bear Arms” cannot be divorced from the text that

        immediately precedes it—“the right of the people.” This right of the people, as Heller made

        clear, is to be interpreted based on the scope of the historical right “inherited from our

        English ancestors.” Heller, 554 U.S. at 599–601 (quoting Robertson v. Baldwin, 165 U.S.

        275, 281 (1897)). And Heller further cautioned that, “[l]ike most rights, the right secured

        by the Second Amendment is not unlimited. From Blackstone through the 19th-century

        cases, commentators and courts routinely explained that the right was not a right to keep

        and carry any weapon whatsoever in any manner whatsoever and for whatever purpose.”


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        Id. at 626; e.g., id. at 620 (noting that in 1875 the Court described the “right protected by

        the Second Amendment as ‘bearing arms for a lawful purpose’” (quoting United States v.

        Cruikshank, 92 U.S. 542, 553 (1875))); id. at 626–27 (noting that “nothing in [its] opinion

        should be taken to cast doubt on longstanding prohibitions on the possession of firearms

        by felons and the mentally ill, or laws forbidding the carrying of firearms in sensitive places

        such as schools and government buildings, or laws imposing conditions and qualifications

        on the commercial sale of arms”); accord Rahimi, 144 S. Ct. at 1897 (“At the founding,

        the bearing of arms was subject to regulations ranging from rules about firearm storage to

        restrictions on gun use by drunken New Year’s Eve revelers. Some jurisdictions banned

        the carrying of ‘dangerous and unusual weapons.’ Others forbade carrying concealed

        firearms.” (citations omitted)).

               Most relevant here, Heller concluded that “the Second Amendment does not protect

        those weapons not typically possessed by law-abiding citizens for lawful purposes.” Heller,

        554 U.S. at 625. That is, the Court recognized that an “important limitation on the right to

        keep and carry arms” existed regarding the “sorts of weapons protected.” Id. at 627.

        Drawing on its opinion in United States v. Miller, 307 U.S. 174 (1939), the Court

        recognized that a limitation on the types of weapons protected was supported by the

        “historical tradition of prohibiting the carrying of dangerous and unusual weapons.” Heller,

        554 U.S. at 627 (cleaned up).

               In Miller, the Supreme Court considered whether a federal ban on the possession or

        use of a shotgun with a barrel of less than eighteen inches violated the Second Amendment.

        Miller, 307 U.S. at 178. The Court concluded that “[i]n the absence of any evidence”


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        showing that a short-barreled shotgun had any “reasonable relationship to the preservation

        or efficiency of a well regulated militia,” it “[could ]not say that the Second Amendment

        guarantees the right to keep and bear such an instrument.” Id. And it further concluded that

        “[c]ertainly it is not within judicial notice that this weapon is any part of the ordinary

        military equipment or that its use could contribute to the common defense.” Id.

               Considering this language, the Heller Court concluded that Miller’s holding was

        based on a conclusion that “the type of weapon at issue was not eligible for Second

        Amendment protection” and that Miller thus stood “for the proposition that the Second

        Amendment right . . . extends only to certain types of weapons.” Heller, 554 U.S. at 622–

        23. However, it noted that Miller lacked a detailed analysis of the precise types of weapons

        to which the Second Amendment extends. Id. at 623–24. The Court thus undertook that

        analysis itself. Id. at 624–26.

               First, the Court acknowledged that Miller’s reference to “ordinary military

        equipment” might be read as an indication that the Second Amendment protects “only those

        weapons useful in warfare.” Id. at 624 (quoting Miller, 307 U.S. at 179). But it flatly

        rejected such a reading, noting that it would render the National Firearms Act’s restrictions

        on machineguns, which were certainly useful in warfare, seemingly unconstitutional. Id.

        Instead, the Heller Court concluded that Miller’s reference to ordinary military equipment

        could only be properly understood in tandem with the language that followed: “[O]rdinarily

        when called for [militia] service [able-bodied] men were expected to appear bearing arms

        supplied by themselves and of the kind in common use at the time.” Id. (quoting Miller,

        307 U.S. at 179).


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               Thus, the Court reasoned that Miller’s reference to ordinary military equipment was

        best understood as meaning that the Second Amendment extends only to weapons useful

        to a Founding-era militia—“arms in common use at the time for lawful purposes like self-

        defense.”2 Id. (cleaned up). So, Miller stood for the proposition “that the Second

        Amendment does not protect those weapons not typically possessed by law-abiding

        citizens for lawful purposes, such as short-barreled shotguns”—a proposition Heller

        adopted as “accord[ing] with the historical understanding of the scope of the [Second

        Amendment] right.” Id. at 625.

               Nothing in Bruen abrogated Heller’s extensive discussion of the contours of the

        scope of the right enshrined in the Second Amendment. In fact, Bruen confirmed that the

        limitations on the Second Amendment right identified by Heller are inherent in the

        meaning of “the right of the people” and should be addressed at the first step of its new

        framework.

               Again, Bruen’s first step requires us to evaluate whether “the Second Amendment’s

        plain text covers an individual’s conduct.” Bruen, 597 U.S. at 24. The Bruen Court asked

        three questions to resolve this inquiry: (1) whether the petitioners were “part of the people


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                The Heller Court acknowledged one criticism of this reading of Miller, noting that
        “[i]t may be objected that if weapons that are most useful in military service—M–16 rifles
        and the like—may be banned, then the Second Amendment right is completely detached
        from the prefatory clause.” Heller, 554 U.S. at 627. But the Court rejected this criticism as
        undermining its reading of the scope of the Second Amendment right, noting that while
        “[i]t may well be true today that a militia, to be as effective as militias in the 18th century,
        would require sophisticated arms that are highly unusual in society . . . [,] the fact that
        modern developments have limited the degree of fit between the prefatory clause and the
        protected right cannot change our interpretation of the right.” Id. at 627–28.


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        whom the Second Amendment protects”; (2) whether the weapons regulated by the

        challenged regulation were “in common use” for a lawful purpose, in that case, “self-

        defense”; and (3) whether the Second Amendment protected the petitioners’ “proposed

        course of conduct.” Id. at 31–32 (cleaned up).

               The Court in Bruen focused on the third of these inquiries, and for good reason—

        there was no dispute in that case that the petitioners, “two ordinary, law-abiding, adult

        citizens,” were among the people protected by the Second Amendment, and neither party

        disputed that the weapons regulated by the challenged regulation—handguns—were in

        common use for self-defense. Id. But by engaging in these inquiries at step one, Bruen

        made clear that the limitations on the scope of the Second Amendment right identified in

        Heller are inherent in the text of the amendment. Cf. United States v. Avila, 672 F. Supp.

        3d 1137, 1143 n.1 (D. Colo. 2023) (“Each of these questions address interpretive issues

        relating to different ‘textual elements’—‘the people,’ ‘Arms,’ and ‘keep and bear,’

        respectively—of what the Supreme Court calls the Second Amendment’s ‘operative

        clause.’” (quoting Bruen, 597 U.S. at 31–32)); Rahimi, 144 S. Ct. at 1923 (Kavanaugh, J.,

        concurring) (noting that Heller “indicated that . . . the Second Amendment attaches only to

        weapons ‘in common use’”).

               We thus reject Price’s argument that we are barred from considering the historical

        limitations on the scope of the right at step one of the framework set forth in Bruen. A plain

        reading of Heller and Bruen leads us to the opposite conclusion: we can only properly apply

        step one of the Bruen framework by looking to the historical scope of the Second




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        Amendment right.3 Id. at 1897 (majority opinion) (citing historical limitations on the “right

        secured by the Second Amendment,” and noting that “[i]n Heller, our inquiry into the


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                 Our second colleague in dissent and two of our concurring colleagues would
        consider the historical limits on the Second Amendment right only at Bruen’s second step.
        See Second Dissenting Op. at 64–67; First Concurring Op. at 28; Third Concurring Op. at
        40. Two of these separate opinions quote the Heller Court’s statement that “the Second
        Amendment extends, prima facie, to all instruments that constitute bearable arms, even
        those that were not in existence at the time of the founding.” Heller, 554 U.S. at 582. But,
        in context, this statement was meant only to reject the “bordering on . . . frivolous”
        argument that “only those arms in existence in the 18th century are protected by the Second
        Amendment.” Id.; see also Rahimi, 144 S. Ct. at 1898 (noting that it would be “mistaken”
        to “apply[] the protections of the right only to muskets and sabers”). This statement was
        not meant to define “Arms,” as used in the Second Amendment, as any weapon that one
        might conceivably pick up and carry. Instead, the meaning of “Arms” within the Second
        Amendment can only be defined by reference to history; here, the historical context of the
        “traditional militia.” Heller, 554 U.S. at 624.

                Our third concurring colleague takes a different path to reach this conclusion, noting
        that because the Bruen Court “invoked the common-use concept as it scoured a historical
        record” at step two, the common-use limitation is confined to step two. Third Concurring
        Op. at 45. But the Bruen Court only referenced the common-use limitation at its second
        step as it was rejecting the respondents’ argument that seventeenth-century restrictions on
        handgun possession—laws that were likely permissible because handguns were, at the
        time, not in common use—were sufficiently analogous to the challenged law at issue in
        that case. Bruen, 597 U.S. at 47. In rejecting the relevance of such laws, it noted that such
        laws only emphasized the point it “already acknowledged in Heller”: “the Second
        Amendment protects only the carrying of weapons that are those ‘in common use at the
        time.’” Id. (emphasis added). Accordingly, the Court was not relegating the common-use
        limitation to step two, it was merely noting that historical laws supported the inherent
        limitations on the right it had already recognized: the Second Amendment does not merely
        permit regulation of some weapons, it “does not protect” weapons “not typically possessed
        by law-abiding citizens for lawful purposes” at all. Heller, 554 U.S. at 625.

               Because defining the word “Arms” within its historical context leads us to conclude
        that some weapons are excluded from Second Amendment protection entirely, and
        because, as discussed below, the weapons regulated by § 922(k) are so excluded, we need
        not perform the lengthy step-two analysis undertaken by the Bruen Court. Such analysis is
        necessary only if the Second Amendment “presumptively guarantees” the right to engage
        in the conduct regulated by a challenged law. Bruen, 597 U.S. at 33. Once conduct is


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        scope of the right began with ‘constitutional text and history’” (first quoting Heller, 554

        U.S. at 626, and then quoting Bruen, 597 U.S. at 22)); accord id. at 1912 (Kavanaugh, J.,

        concurring) (explaining how history should be used to interpret “vague constitutional

        text”).

                                                      IV.

                  Having explained the inquiry required by Bruen’s first step, we now turn to applying

        it in the present case. Because it is outcome determinative here, we focus our analysis on

        Bruen’s second step-one inquiry: whether the weapons regulated by § 922(k) are in

        common use for a lawful purpose.4



        presumptively protected, a law is constitutional only if it has a “relevantly similar”
        “historical analogue.” Rahimi, 144 S. Ct. at 1901–02 (quoting Bruen, 597 U.S. at 29–30).
        But where, as here, a weapon falls outside the plain text of the Second Amendment, there
        is no such presumption of protection and we thus need not parse every arguably similar
        historical regulation.

                 In focusing on this inquiry, we do not mean to imply that Price’s possession of a
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        firearm with an obliterated serial number would otherwise fall within the scope of the right
        protected by the Second Amendment. We recognize that, as a convicted felon, Price is
        likely not one of the “law-abiding” citizens the Bruen Court easily concluded were among
        “‘the people’ whom the Second Amendment protects.” Bruen, 597 U.S. at 31–32. But we
        are also cognizant that there remain open questions at both the first and second steps of the
        Bruen analysis: whether a person with a felony conviction (or a particular kind of felony
        conviction, like a conviction for a violent crime) may be included within “the people” for
        purposes of the Second Amendment; and if so, whether they can nevertheless be disarmed
        consistent with the nation’s historical tradition of firearm regulation. The answers to these
        questions post-Bruen are the subject of disagreement among the circuits and will require
        further analysis post-Rahimi. Compare Range v. Att’y Gen., 69 F.4th 96, 101 (3d Cir. 2023)
        (en banc) (concluding that an individual with a nonviolent felony conviction remained
        within “the people” and could not be disarmed consistent with the historical tradition of
        firearm regulation), vacated sub nom. Garland v. Range, No. 23-374, 2024 WL 3259661
        (U.S. July 2, 2024), and United States v. Duarte, 101 F.4th 657, 691 (9th Cir.) (same),
        reh’g en banc granted, _ F. 4th _, 2024 WL 3443151 (9th Cir. July 17, 2024), with Vincent


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        v. Garland, 80 F.4th 1197, 1202 (10th Cir. 2023) (concluding that Bruen did not abrogate
        the Tenth Circuit’s precedent that the felon-in-possession ban was presumptively lawful
        and rejecting the need for individual, as-applied inquiries for nonviolent felons), vacated,
        No. 23-683, 2024 WL 3259668 (U.S. July 2, 2024), and United States v. Jackson, 69 F.4th
        495, 504 (8th Cir. 2023) (concluding that historical disarmament of dangerous people
        supported the felon-in-possession ban and rejecting the need for “an individualized
        determination of dangerousness as to each person in a class of prohibited persons”),
        vacated, No. 23-6170, 2024 WL 3259675 (U.S. July 2, 2024).

               And while this Court recently determined that the federal felon-in-possession ban,
        18 U.S.C. § 922(g)(1), is facially constitutional because it has a “plainly legitimate sweep,”
        United States v. Canada, 103 F.4th 257, 258 (4th Cir. 2024) (quoting Wash. State Grange
        v. Wash. State Republican Party, 552 U.S. 442, 449 (2008)), we declined to opine on the
        open questions regarding as-applied challenges and nonviolent felons. Because the answers
        to these questions do not affect the outcome here, we similarly leave them for another day.

               Our second concurring colleague, however, faults us for failing to decide that Price
        falls within § 922(g)(1)’s plainly legitimate sweep and, having so concluded, for failing to
        base our holding on the notion that “if [Price] can be constitutionally prohibited from
        possessing any firearm without running afoul of the Second Amendment, then he can
        surely be constitutionally prohibited from possessing a discrete subset of firearms—
        namely, firearms with obliterated serial numbers—without running afoul of it too.” Second
        Concurring Op. at 37. Our colleague frames this as the simpler path, but we disagree. Were
        we to take the path our colleague urges, we would be deciding only the question of whether
        a law banning felons from possessing firearms with obliterated serial numbers is
        constitutional. For the reasons stated in Canada, such a law targeting felons would have a
        “plainly legitimate sweep.” But that is not the law Congress enacted via § 922(k). Instead,
        § 922(k) bans all individuals from possessing firearms with obliterated serial numbers.
        And—understanding that § 922(k) is not limited to felons—both the parties and the district
        court have addressed whether § 922(k) is facially constitutional. Thus, our second
        concurring colleague would have us ignore the question that is squarely presented in this
        case and instead cast about for an alternate theory that would leave the district courts with
        no more guidance than Canada already provides.

               Our colleague’s suggested path is problematic for another reason. Price was also
        charged with a violation of § 922(g)(1). Were we to conclude that only the version of
        § 922(k) as rewritten by our colleague is constitutional, we would be imposing double
        criminal liability on Price for a single reason—as a person with felony status, he possessed
        a single firearm. In other words, § 922(g)(1) would essentially become a lesser-included
        offense of § 922(k), raising Blockburger questions. See Blockburger v. United States, 284
        U.S. 299, 304 (1932) (“[W]here the same act or transaction constitutes a violation of two


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               We know from Supreme Court precedent that short-barreled shotguns and

        machineguns are not in common use for a lawful purpose but handguns—“the

        quintessential self-defense weapon”—are. Heller, 554 U.S. at 629; see id. at 625

        (discussing Miller, 307 U.S. at 179). Still, the Supreme Court has not elucidated a precise

        test for determining whether a regulated arm is in common use for a lawful purpose. And

        we are the first circuit court to resolve the constitutionality of § 922(k) after Bruen.5



        distinct statutory provisions, the test to be applied to determine whether there are two
        offenses or only one, is whether each provision requires proof of a fact which the other
        does not.”). The path we take to uphold § 922(k) avoids these uncharted, and unbriefed,
        waters.
               5
                  In unpublished opinions, the Sixth and Eleventh Circuits have considered
        challenges to defendants’ convictions for violating § 922(k) but, reviewing only for plain
        error, have concluded the statute was not “clearly unconstitutional under current law.”
        United States v. Ramadan, No. 22-1243, 2023 WL 6634293, at *3 (6th Cir. Oct. 12, 2023);
        see United States v. Lopez, No. 22-13036, 2024 WL 2032792 (11th Cir. May 7, 2024)
        (same). Numerous district courts have also considered this question post-Bruen. All but the
        district court below have concluded that § 922(k) is constitutional. See United States v.
        Reyna, No. 3:21-CR-41 RLM-MGG, 2022 WL 17714376 (N.D. Ind. Dec. 15, 2022)
        (finding that the conduct regulated by § 922(k) is not within the scope of the Second
        Amendment because firearms with obliterated serial numbers are not in common use for a
        lawful purpose); United States v. Avila, 672 F. Supp. 3d 1137(D. Colo. 2023) (same);
        United States v. Holton, 639 F. Supp. 3d 704 (N.D. Tex. 2022) (finding that the conduct
        regulated by § 922(k) is not within the scope of the Second Amendment and that, even if
        it was, the statute is consistent with the Nation’s historical tradition of firearm regulation);
        United States v. Tita, No. RDB-21-0334, 2022 WL 17850250 (D. Md. Dec. 22, 2022)
        (same); United States v. Serrano, 651 F. Supp. 3d 1192 (S.D. Cal. 2023) (same); United
        States v. Bradley, No. 2:22-cr-00098, 2023 WL 2621352 (S.D. W. Va. Mar. 23, 2023)
        (same); United States v. Walter, No. 3:20-cr-0039, 2023 WL 3020321 (D.V.I. Apr. 20,
        2023) (same); United States v. Trujillo, 670 F. Supp. 3d 1235 (D.N.M. 2023) (same);
        United States v. Patton, No. 4:21CR3084, 2023 WL 6230413 (D. Neb. Sept. 26, 2023)
        (same); United States v. Dangleben, No. 3:23-MJ-0044, 2023 WL 6441977 (D.V.I. Oct. 3,
        2023) (same); United States v. Dixson, No. S2-4:21CR0054 AGF (JSD), 2023 WL
        7102115 (E.D. Mo. Oct. 26, 2023) (same); United States v. Sing-Ledezma, _ F. Supp. 3d
        _, 2023 WL 8587869 (W.D. Tex. Dec. 11, 2023) (same); United States v. Alberts, No. CR


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               In 2010—before Bruen—the Third Circuit analyzed how Miller and Heller applied

        to firearms with obliterated serial numbers.6 United States v. Marzzarella, 614 F.3d 85 (3d

        Cir. 2010), abrogated by Bruen, 597 U.S. 1, as recognized in Range v. Att’y Gen., 69 F.4th

        96, 100 (3d Cir. 2023) (en banc), vacated sub nom. Garland v. Range, No. 23-374, 2024

        WL 3259661 (U.S. July 2, 2024). In relevant part, the Third Circuit analyzed whether a

        firearm with an obliterated serial number is a dangerous and unusual weapon by comparing

        it to the short-barreled shotgun at issue in Miller. The court observed that “[t]he District

        Court could not identify, and [the defendant] does not assert, any lawful purpose served by

        obliterating a serial number on a firearm.” Id. at 95. It further noted that there was “no

        compelling reason why a law-abiding citizen would prefer an unmarked firearm” because




        23-131-BLG-SPW, 2024 WL 1486145 (D. Mont. Apr. 5, 2024) (same); United States v.
        Ortiz, No. 3:22-cr-0020, 2024 WL 1554868 (D.V.I. Apr. 10, 2024) (same); United States
        v. Brabham, No. 1:21-CR-342, 2024 WL 3165467 (M.D. Pa. June 24, 2024) (same); United
        States v. Banks, No. CR 24-25, 2024 WL 3251725 (E.D. Pa. June 21, 2024) (finding that
        it is likely that the conduct regulated by § 922(k) is not within the scope of the plain text
        of the Second Amendment but that even if it was, it was consistent with the Nation’s
        historical tradition of firearm regulation); United States v. Sharkey, 693 F. Supp. 3d 1004
        (S.D. Iowa 2023) (finding that § 922(k) is consistent with the Nation’s historical tradition
        of firearm regulation without analyzing whether it regulates conduct covered by the Second
        Amendment’s text); United States v. Barnes, No. CR 23-12, 2024 WL 3328593 (D. Del.
        July 8, 2024) (same); United States v. Cherry, No. 19-122-1, 2024 WL 263926 (E.D. Pa.
        Jan. 24, 2024) (considering § 922(k)’s constitutionality in the context of a 28 U.S.C. § 2255
        motion and concluding § 922(k) is consistent with the Nation’s historical tradition of
        firearms regulation).
               6
                 Section 922(k) also criminalizes possession of a firearm with a “removed” or
        “altered” serial number, but we focus here on firearms with obliterated serial numbers
        because that is how the indictment described the firearm found in Price’s vehicle.


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        unmarked firearms have value “primarily for persons seeking to use them for illicit

        purposes.” Id. We find these aspects of its opinion persuasive.

               That said, the Third Circuit was not convinced that firearms with obliterated serial

        numbers were entirely analogous to the prototypical example of an unprotected weapon—

        the short-barreled shotgun—because, it reasoned, “[w]hile a short-barreled shotgun is

        dangerous and unusual in that its concealability fosters its use in illicit activity, it is also

        dangerous and unusual because of its heightened capability to cause damage.” Id.

        (emphasis added). By contrast, while arms with obliterated serial numbers were dangerous

        because of their likelihood to be used illicitly, they were nonetheless “no more damaging

        than a marked firearm” when used. Id. For that reason, the Third Circuit court moved to

        the second step of the pre-Bruen analysis, assuming without deciding that § 922(k) placed

        some burden on an individual’s Second Amendment right. Id.

               Price would have us reach the same impasse as the Third Circuit: that while arms

        with obliterated serial numbers are preferable to criminals because of their concealability,

        they are functionally no different from serialized arms. And Price argues that, to the extent

        any bearable arms are excepted from the Second Amendment’s protection, such exception

        applies only to weapons that are exceptionally dangerous because of their function. So, in

        his view, any arguable exception to the Second Amendment is based solely on

        dangerousness of function and thus does not apply to the arms regulated by § 922(k).

               We reject Price’s view of the scope of the Second Amendment. To the extent the

        court in Marzzarella was unable to conclude that firearms with obliterated serial numbers

        were categorically unprotected, that was because it misread Heller as directing courts to


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        look only to a weapon’s dangerousness, rather than also to whether it is commonly used

        for a lawful purpose.

               We focus our analysis as to whether a weapon is protected on whether it is in

        common use for a lawful purpose, not solely on its functionality.7 Under this test, if we

        conclude that a weapon is not in common use for a lawful purpose, it can be permissibly

        excluded from the Second Amendment’s protection based on the tradition of regulating

        “dangerous and unusual” arms. Heller, 554 U.S. at 627; cf. United States v. Fincher, 538

        F.3d 868, 874 (8th Cir. 2008) (applying Heller and concluding that “[m]achine guns are

        not in common use by law-abiding citizens for lawful purposes and therefore fall within

        the category of dangerous and unusual weapons that the government can prohibit for




               7
                 Our second colleague in dissent disagrees, arguing that functionality is the only
        relevant metric and that “whether a gun has or lacks a serial number does not change how
        the gun operates as a weapon so that it is more effective for one purpose or another.”
        Second Dissenting Op. at 72–73. While we agree that whether a firearm bears a serial
        number does not change its rate of fire, for example, we cannot agree that firearms with
        obliterated serial numbers are no more effective “for one purpose or another.” As the
        second dissent admits, firearms without serial numbers are more effective if one’s purpose
        is to not have the government track their firearm. Id. at 78. Thus, because a weapon’s
        nonfunctional characteristics can nevertheless impact the purposes for which it is used,
        such characteristics are relevant to our analysis.

                For a similar reason, we disagree with our first colleague in dissent who, like us,
        locates the common-use inquiry at Bruen’s step one. See First Dissenting Op. at 56.
        Contrary to our colleague’s characterization, it is not our view that “any change to a
        firearm,” id. at 57, would exclude it from the scope of “Arms” to which the Second
        Amendment applies. Only changes that produce a weapon that is no longer in common use
        for a lawful purpose are relevant. For example, if a red or green firearm is no more likely
        to be used in crimes than a black or grey one, such a weapon would still qualify as a
        constitutionally protected Arm. But here, where the modification to the firearm makes it
        more useful in crime, such modification is relevant to our analysis.


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        individual use”). In other words, while historical tradition regarding the regulation of

        dangerous weapons supports a limitation on the scope of the Second Amendment right, a

        weapon must be in common use for a lawful purpose to be protected by that right.

               Thus, the Supreme Court has directed us to determine whether a weapon’s common

        purpose is a lawful one—such as self-defense—or one that would be unlawful for ordinary

        citizens to engage in—such as concealing the commission of crimes, as with short-barreled

        shotguns, or waging war, as with machineguns. This is an inquiry that courts are equipped

        to apply consistently. For example, if available, courts can look to statistics regarding

        weapons commonly used in crimes versus weapons commonly chosen by law-abiding

        citizens for self-defense. And courts can also, as the Supreme Court did in Heller, apply

        common sense and consider whether there are any reasons a law-abiding citizen would

        want to use a particular weapon for a lawful purpose. See Heller, 554 U.S. at 629 (“There

        are many reasons that a citizen may prefer a handgun for home defense: It is easier to store

        in a location that is readily accessible in an emergency; it cannot easily be redirected or

        wrestled away by an attacker; it is easier to use for those without the upper-body strength

        to lift and aim a long gun; it can be pointed at a burglar with one hand while the other hand

        dials the police.”). If no common-sense reasons exist for a law-abiding citizen to prefer a

        particular type of weapon for a lawful purpose like self-defense, and no evidence suggests

        that law-abiding citizens nonetheless commonly choose the weapon for lawful uses, then

        courts can conclude that the weapon is not in common use for lawful purposes.

               Of course, a weapon’s dangerousness is not unrelated to whether it is in common

        use for a lawful purpose. The powerful and unpredictable nature of a sawed-off shotgun


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        contributes to why it would be an unlikely choice for a law-abiding citizen to use for self-

        defense, and the lethality of a machinegun has led the Supreme Court to conclude that such

        weapons are best suited for war, not self-defense. As Judge Wilkinson’s good opinion in

        Bianchi v. Brown makes clear, a weapon being extraordinarily dangerous is certainly a

        relevant factor when evaluating whether that weapon is protected by the Second

        Amendment. Bianchi v. Brown, No. 21-1255, slip op. at 21–22 (4th Cir. Aug. 6, 2024)

        (discussing the weapons the Supreme Court has determined fall beyond the Second

        Amendment’s scope and noting that that “[w]hat brings [them] together, and what separates

        them from the handgun, is their ability to inflict damage on a scale or in a manner

        disproportionate to the end of personal protection. As such, they are weapons most suitable

        for criminal or military use”). But we reject dangerousness of functionality as the sole

        determinative factor. Put another way, in our view, the Third Circuit in Marzzarella failed

        to reach a firm conclusion on whether firearms with obliterated serial numbers are

        categorically excluded from the Second Amendment’s scope because of its mistaken belief

        that it needed to conclude both that a firearm with an obliterated serial number was not in

        common lawful use and that it was functionally more dangerous than other weapons. While

        the second conclusion is relevant, only the first conclusion is required.

               The question before us is thus whether firearms with obliterated serial numbers are

        in common use for lawful purposes. On that point, we agree with the Third Circuit that

        there is “no compelling reason why a law-abiding citizen” would use a firearm with an

        obliterated serial number and that such weapons would be preferable only to those seeking




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        to use them for illicit activities. Marzzarella, 614 F.3d at 95. This is the same common-

        sense reasoning applied by the Supreme Court in Heller.

                Further, there is no evidence before us that law-abiding citizens nonetheless choose

        these weapons for lawful purposes like self-defense.8 In fact, the opposite appears to be

        true—firearms with obliterated serial numbers are not common at all. A 2023 report from

        the Bureau of Alcohol, Tobacco, and Firearms (“ATF”) noted that less than three percent

        of the firearms submitted by law enforcement agencies to the ATF for tracing between

        2017 and 2021 had an obliterated serial number. Bureau of Alcohol, Tobacco, & Firearms,

        U.S. Dep’t of Just., National Firearms Commerce and Trafficking Assessment (NFCTA):

        Crime       Gun   Intelligence   and    Analysis    Volume    Two    pt.    3,   at   5   (2024),

        https://www.atf.gov/firearms/docs/report/nfcta-volume-ii-part-iii-crime-guns-recovered-




                8
                 We recognize that Heller can be read as suggesting that self-defense is not the only
        lawful purpose for which an individual might want to keep and bear a firearm. Cf. Heller,
        554 U.S. at 599 (noting both “self-defense” and “hunting” as reasons Founding-era
        Americans likely valued the right to keep and bear arms). But Bruen emphasized that
        “individual self-defense ‘is the central component’ of the Second Amendment right.”
        Bruen, 597 U.S. at 29 (quoting McDonald v. City of Chicago, 561 U.S. 742, 767 (2010)).
        Thus, it is not clear what weight we give a weapon’s potential to be used for non-self-
        defense, but still lawful, purposes. Cf. Bevis, 85 F.4th at 1192 (“Both Supreme Court
        decisions and historical sources indicate that the Arms the Second Amendment is talking
        about are weapons in common use for self-defense. That is not to say that there are no other
        lawful uses for weapons—sporting uses, collection, and competitions come to mind as
        examples. But the constitutional protection exists to protect the individual right to self-
        defense, and so that will be our focus.”). But because there is no evidence before us that
        firearms with obliterated serial numbers are useful for any lawful purpose, self-defense or
        otherwise, we decline to speculate whether a weapon not in common use for self-defense
        but in common use for other purposes might still be protected by the Second Amendment.


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        and-traced-us/download [https://perma.cc/7LTX-ZDVG].9 Of course, this statistic relates

        only to those firearms seized by law enforcement agencies. But if firearms with obliterated

        serial numbers are not even in common use for criminal purposes—the only scenario in

        which we can conceive a reason to prefer such weapons10—then we think it fair to conclude

        that such arms are not in common use for lawful purposes. Thus, we conclude that

        § 922(k)’s regulation of such arms does not implicate the Second Amendment.

               We find the hypothetical example offered by the district court to conclude otherwise

        to be unpersuasive. The district court evoked a hypothetical “law-abiding citizen” who

        legally purchases a firearm bearing a serial number and then removes the serial number

        with “no ill intent.” United States v. Price, 635 F. Supp. 3d 455, 460 (S.D.W. Va. 2022).

        When this hypothetical law-abiding citizen dies, he leaves his gun collection to his

        similarly law-abiding daughter, who—aware that the firearm has an obliterated serial

        number11—displays it in her father’s memory. Id. The district court concluded that both its


               9
                 “[W]e may take judicial notice of governmental reports.” United States v. Doe,
        962 F.3d 139, 147 n.6 (4th Cir. 2020) (citing United States v. Cecil, 836 F.2d 1431, 1452
        (4th Cir. 1988)).
               10
                  The second dissent characterizes us as ignoring the “customs of the American
        people” in favor of the “speculations of federal judges.” Second Dissenting Op. at 78. Had
        there been evidence presented in this litigation that it is customary for law-abiding
        individuals to prefer firearms with obliterated serial numbers, we would, of course, factor
        such evidence into our analysis. But neither the second dissent nor Price have been able to
        offer any such evidence.
               11
                  The district court’s hypothetical requires that the citizen’s daughter knew the
        firearm she inherited had an obliterated serial number, as an individual must know of the
        alteration to be convicted of a violation of § 922(k). See United States v. Haywood, 363
        F.3d 200, 206 (3d Cir. 2004) (collecting cases); United States v. Santiago, 344 F. App’x


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        hypothetical law-abiding citizen and the citizen’s daughter would be in violation of

        § 922(k) despite engaging in conduct “squarely within the Second Amendment’s plain

        text.” Id. So, the court reasoned, § 922(k) prohibits conduct protected by the Second

        Amendment, failing the first step of the Bruen analysis.

               In so concluding, the district court noted that “while the law-abiding citizen’s

        possession of the firearm was originally legal, it became illegal only because the serial

        number was removed,” thus infringing on the citizen’s right to possess a firearm. Id. But

        the illegal conduct is not the possession of the firearm qua firearm: it is the possession of

        a firearm with an obliterated serial number. Firearms that are originally lawfully purchased

        are not somehow imbued with constitutional coverage no matter what happens after they

        leave the dealer. Regardless of any originally lawful nature, a shotgun becomes contraband

        once its barrel is modified to be less than eighteen inches. The fact that such contraband

        was created using an originally lawful item is irrelevant.

               Another hypothetical example further illustrates this point. Imagine a handgun—the

        admittedly quintessential self-defense weapon—has been modified such that the grip is

        made of illegally imported ivory. To accept Price’s view of § 922(k)—that an otherwise




        847, 851 (4th Cir. 2009) (per curiam) (“To establish a violation of § 922(k), the
        Government must prove, beyond a reasonable doubt, that [the defendant]: (1) knowingly
        possessed the firearm, and (2) had knowledge that the serial number of the possessed
        firearm had been removed, obliterated, or altered.”).


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        constitutional12 restriction on the obliteration of a serial number becomes unconstitutional

        when applied to a firearm—we would also have to accept that the Government’s ability to

        regulate this illegally imported ivory was voided once that ivory was attached to a firearm.

        We do not believe Bruen compels such a startling result. Just like an obliterated serial

        number, a grip made of illegally imported ivory bears no relationship to the lawful use of

        the weapon, would be unquestionably unlawful in other contexts, and produces a weapon

        that is not in common use for a lawful purpose. The Government does not lose its ability

        to regulate ivory, or a serial number, merely because it is affixed to a firearm.

               The district court’s hypothetical is also flawed for another reason: it hinges on the

        notion that the law-abiding citizen removed the serial number with no ill intent. The district

        court apparently did not consider what legitimate motivation it imagines the law-abiding

        citizen had for removing the serial number, but even if we could dream up such a peculiar

        scenario, our conclusion would not change. Heller and Bruen direct us to analyze not only

        whether a weapon might have some conceivable lawful use, but also whether such use is

        common. Cf. United States v. Reyna, No. 3:21-CR-41 RLM-MGG, 2022 WL 17714376, at

        *5 (N.D. Ind. Dec. 15, 2022) (“That a law-abiding citizen could use a gun with an

        obliterated serial number for lawful self-defense isn’t evidence that guns with obliterated

        serial numbers are typically used by law-abiding citizens for lawful self-defense.”

        (emphasis added)). And here, because we cannot fathom any common-sense reason for a


               12
                  Price does not raise a First Amendment challenge to § 922(k) or otherwise
        contend that laws prohibiting the obliteration or alteration of serial numbers on objects
        other than firearms are unconstitutional.


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        law-abiding citizen to want to use a firearm with an obliterated serial number for self-

        defense, and there is no evidence before us that they are nonetheless commonly lawfully

        used, we conclude that firearms with obliterated serial numbers are not in common use for

        a lawful purpose and they therefore fall outside the scope of the Second Amendment’s

        protection.

                                                      V.

               The Supreme Court has made clear that while the Second Amendment protects an

        individual right to keep and bear arms, certain arms fall outside the scope of that protection.

        To determine whether a regulated arm is protected by the Second Amendment, we must

        first ask whether it is in common use for a lawful purpose. Because we conclude that

        firearms with obliterated serial numbers are not, we conclude they fall outside of the scope

        of the Second Amendment’s protection. Thus, § 922(k)’s regulation of such arms does not

        violate the Second Amendment. We therefore reverse the decision of the district court and

        remand for further proceedings consistent with this opinion.

                                                                     REVERSED AND REMANDED




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        NIEMEYER, Circuit Judge, concurring in the judgment:

               The defendant, who was charged with violating 18 U.S.C. § 922(k), challenges the

        constitutionality of that provision under the Second Amendment.

               The focus of the provision — the element that distinguishes it from other § 922

        offenses — is the possession of a firearm that has had its “serial number removed,

        obliterated, or altered.” Otherwise, as far as § 922(k) is concerned, a person can keep and

        bear a firearm. As the majority opinion explains, “the illegal conduct is not the possession

        of the firearm qua firearm: it is the possession of a firearm with an obliterated serial

        number.” Ante at 24. I thus question whether the provision even implicates the Second

        Amendment. It does not prohibit generally the possession or carrying of firearms for self-

        defense. Rather, it effectively aims at preventing the removal and obliteration of serial

        numbers on firearms, the presence of which furthers important law enforcement interests.

        And as the majority opinion rightly observes, no “lawful purpose [can be] served by

        obliterating a serial number on a firearm.”        Ante at 17 (quoting United States v.

        Marzzarella, 614 F.3d 85, 95 (3d Cir. 2010), abrogated on other grounds by New York

        State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022); see also ante at 21. Such a statute

        is hardly different from a hypothetical one that might prohibit possessing a firearm without

        having in the home a means to store it safely, which too would not prohibit the possession

        or carrying of a firearm. As such, it is far from clear that the prohibited conduct even

        implicates the right to keep and bear arms.




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               Nonetheless, even subjecting § 922(k) to the analysis required by Bruen leads

        inevitably to the conclusion that the statute does not violate the Second Amendment. As

        the majority holds,

               [B]ecause we cannot fathom any common-sense reason for a law-abiding
               citizen to want to use a firearm with an obliterated serial number for self-
               defense, and there is no evidence before us that they are nonetheless
               commonly lawfully used, we conclude that firearms with obliterated serial
               numbers are not in common use for a lawful purpose and they therefore fall
               outside the scope of the Second Amendment’s protection. . . . Thus,
               § 922(k)’s regulation of such arms does not violate the Second Amendment.

        Ante at 25–26. I agree with this holding. In reaching it, however, the majority employs an

        analysis that unnecessarily moves the historical component of the Bruen test into its first

        step, contrary to what Bruen instructs.

               In Bruen, the Court held that a New York law governing the process to obtain a

        license to carry a handgun in public was unconstitutional because the law conditioned the

        license’s issuance on the applicant’s demonstrating that he or she had some “special

        need” that justified carrying a handgun beyond a general interest in self-defense. 597 U.S.

        at 11–13, 38. Without demonstrating that special need, a citizen in New York could not

        carry a handgun in public for self-defense. In holding New York’s law unconstitutional,

        the Bruen Court began by articulating the applicable test for analyzing a government

        regulation under the Second Amendment. It stated:

               When the Second Amendment’s plain text covers an individual’s conduct,
               the Constitution presumptively protects that conduct. The government must
               then justify its regulation by demonstrating that it is consistent with the
               Nation’s historical tradition of firearm regulation. Only then may a court
               conclude that the individual’s conduct falls outside the Second Amendment’s
               unqualified command.


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        Id. at 24 (emphasis added) (cleaned up). The Court thus adopted a two-step text-and-

        history test for determining whether a regulation violates the Second Amendment.

               Explaining the test, the Bruen Court noted that at the first step, a court must focus

        on the conduct of the person mounting a Second Amendment challenge and determine

        whether it is covered by the text of the Amendment — “the right of the people to keep and

        bear Arms.” 597 U.S. at 32 (quoting U.S. Const. amend. II). As to the plain meaning of

        that text, the Court stated that the right to “bear” arms describes “the right to wear, bear, or

        carry upon the person or in the clothing or in a pocket, for the purpose of being armed and

        ready . . . in . . . case of conflict with another person.” Id. (cleaned up). And it stated that

        “arms” refers to “all instruments that constitute bearable arms, even those that were not in

        existence at the time of the founding.” Id. at 28 (cleaned up). The conduct of possessing

        or carrying a bearable firearm therefore is presumptively protected by the Second

        Amendment. That is only the first part of the analysis, however, because, as the Court

        stressed, the scope of the right protected by the Amendment is “not unlimited.” Id. at 21

        (cleaned up). Thus, when the individual’s proposed course of conduct is protected by the

        Amendment’s plain text, the burden shifts to the government to justify its regulation of

        that conduct by showing the regulation’s consistency with historical tradition. It is this

        “historical tradition that delimits the outer bounds of the right.” Id. at 19.

               After the Court established and explained the two-step analysis for application of

        the Second Amendment, it then turned to the New York law and, focusing on the conduct

        regulated, it readily concluded that the “textual” step of the test was satisfied, stating, “The

        Second Amendment’s plain text thus presumptively guarantees petitioners Koch and Nash

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        a right to ‘bear’ arms in public for self-defense.” Bruen, 597 U.S. at 33. But that was just

        the first step in determining the scope of the “right” protected. The second step required

        New York to demonstrate that there was a historical tradition that justified its requiring a

        license applicant to demonstrate a special need to carry a handgun beyond the needs of

        ordinary self-defense. On that step, the Court concluded that New York had shown no

        “historical tradition limiting public carry only to those . . . who demonstrate a special need.”

        Id. at 38. Accordingly, the Court held, after completing the second step, that the New York

        licensing law was unconstitutional.

               Were this not clear enough, the Supreme Court again in United States v. Rahimi,

        602 U.S. __ (2024), reiterated its text-history two-step analysis, distinguishing between

        conduct, which the text addresses, and the regulation, which history must justify and on

        which the government has the burden. Explaining Bruen, the Rahimi Court stated, “We

        also clarified that when the Government regulates arms-bearing conduct, . . . it bears the

        burden to ‘justify its regulation.’” Slip Op. at 6–7 (emphasis added) (quoting Bruen, 597

        U.S. at 24). And, as Rahimi repeated, the way the government carries this burden is by

        showing that the “challenged regulation fits within” “our ‘historical tradition of firearm

        regulation.’” Id. at 6 (quoting Bruen, 597 U.S. at 17).

               The majority nonetheless loads its historical analysis — from which it determines

        that because firearms with obliterated serial numbers are “not in common use for a lawful

        purpose,” they fall outside the scope of the Second Amendment right — into step one of

        Bruen, contrary to Bruen’s test, as reaffirmed in Rahimi. In rationalizing its position, the

        majority states that at step one, three questions must be answered, one of which is “whether

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        the weapons regulated by the challenged regulation were ‘in common use’ for a lawful

        purpose.” Ante at 12. It then reasons that “[a] plain reading of Heller and Bruen leads us

        to the . . . conclusion [that] we can only properly apply step one of the Bruen framework

        by looking to the historical scope of the Second Amendment right.” Ante at 12–13 (latter

        emphasis added). Finally, the majority points to the historical tradition, already recognized

        by the Supreme Court, of governments’ restricting weapons that are not “in common use

        for a lawful purpose.” As it states, the “historical tradition regarding the regulation of

        dangerous weapons supports a limitation on the scope of the Second Amendment right,”

        namely that “a weapon must be in common use for a lawful purpose to be protected by that

        right,” a conclusion the majority reaches at step one. Ante at 19 (first emphasis added).

               In short, while the majority recognizes that historical tradition is the means by which

        to assess whether § 922(k) is constitutional, it treats that historical analysis as a component

        of the first step, despite Bruen and Rahimi’s clear statements that historical analysis falls

        in step two. In particular, after reviewing the historical tradition of government regulation

        of firearms and other weapons at some length, the Bruen Court concluded, “Drawing from

        this historical tradition, we explained [in Heller] that the Second Amendment protects only

        the carrying of weapons that are those ‘in common use at the time,’ as opposed to those

        that ‘are highly unusual in society at large.’” Id. at 47 (emphasis added) (cleaned up). This

        is the same conclusion reached by the majority, but unlike the Supreme Court’s approach,

        the majority applied it as part of step one. In short, defining the limits on the right protected

        by the Second Amendment by looking to the historical tradition is the entire function of

        step two of the Bruen test, a step committed to the government to satisfy.

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                  Respectfully, I conclude that the majority’s shift of the historical tradition to step

        one is simply wrong.

                  Nonetheless, I believe that the majority reaches the right conclusion — that a

        “firearm with a removed, obliterated, or altered serial number is not a weapon in common

        use for lawful purposes” and thus falls outside “the scope of the right enshrined in the

        Second Amendment.” Ante at 4. As Bruen pointed out, Heller made clear that the Second

        Amendment protects “only the carrying of weapons that are those ‘in common use at the

        time’ as opposed to those that ‘are highly unusual in society at large.’” 597 U.S. at 47

        (quoting District of Columbia v. Heller, 554 U.S. 570, 627 (2008)). Based on the publicly

        available statistics, combined with common sense, the majority was right to conclude that

        firearms that have had their serial numbers obliterated are rare because the reason people

        tamper with firearm serial numbers is to make it harder for law enforcement officers to

        trace their use in criminal activity. Thus, I agree that the weapons regulated by § 922(k)

        are “not typically possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S.

        at 625.

                  Accordingly, I concur in the judgment.




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        AGEE, Circuit Judge, concurring in the judgment:

               I agree with the majority in that it reverses the district court’s order dismissing

        Price’s § 922(k) charge. However, I reach that result by a different path. In my view, Price’s

        facial challenge to § 922(k) can be, and should be, resolved on a far simpler basis: because

        Price is a convicted violent felon who may not possess any firearm, § 922(k) is not

        unconstitutional as applied to him. As that fact alone dooms Price’s facial challenge, I

        concur only in the judgment.

               To mount a successful facial challenge to a law passed by Congress and signed by

        the president, “the challenger must establish that no set of circumstances exists under which

        the Act would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). That is to say,

        the challenger must demonstrate that the law “is unconstitutional in all its applications.”

        Bucklew v. Precythe, 587 U.S. 119, 138 (2019) (emphasis added). As the Supreme Court

        has observed, this is a difficult standard to meet. See Salerno, 481 U.S. at 745; see also

        United States v. Rahimi, 602 U.S. --- (2024), slip op. at 8 (applying this standard to a

        Second Amendment facial challenge to § 922(g)(8)). And Price has not met it here because

        he cannot demonstrate that § 922(k) is unconstitutional as applied to him. See, e.g., Ulster

        Cnty. v. Allen, 442 U.S. 140, 154–55 (1979) (“As a general rule, if there is no constitutional

        defect in the application of the statute to a [party], he does not have standing to argue that

        it would be unconstitutional if applied to third parties[.]”).

               Price is a convicted felon, and a violent felon at that. He has convictions for

        involuntary manslaughter, aggravated robbery, attempted felonious assault, and domestic

        violence, among others. As a result of those convictions, § 922(g)(1) prohibits him from

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        possessing any firearm, whether the serial number has been obliterated or not. Thus, so

        long as that categorical ban is lawful—at least as applied to him—then Price’s facial

        challenge to a narrower prohibition necessarily fails.

               There can be no serious dispute that § 922(g)(1)’s categorical prohibition on firearm

        possession is constitutional as applied to Price. That fact forecloses his defense of Second

        Amendment protection to being prosecuted under § 922(k).

               At the outset, the Supreme Court has emphasized that the Second Amendment

        protects “the right of law-abiding, responsible citizens” to keep and bear arms for self-

        defense. N.Y. State Rifle & Pistol Assoc., Inc. v. Bruen, 597 U.S. 1, 26 (2022) (emphasis

        added) (quoting District of Columbia v. Heller, 554 U.S. 570, 635 (2008)). It has also been

        careful not to “cast doubt” on the legality of “longstanding prohibitions on the possession

        of firearms by felons,” which the Court expressly identified as “presumptively lawful

        regulatory measures.” Heller, 554 U.S. at 626, 627 n.26; accord McDonald v. City of

        Chicago, 561 U.S. 742, 786 (2010) (plurality opinion); Bruen, 597 U.S. at 72 (Alito, J.,

        concurring); id. at 81 (Kavanaugh, J., joined by Roberts, C.J., concurring). In fact, the

        Court just reaffirmed this point in United States v. Rahimi, 602 U.S. ---, (2024), providing

        that “Heller never established a categorical rule that the Constitution prohibits regulations

        that forbid firearm possession in the home.” Id. (slip op. at 15). And that Heller actually

        “stated that many such prohibitions, like those on the possession of firearms by ‘felons and

        the mentally ill,’ are’ presumptively lawful.’” Id.

               To be sure, following Bruen and its clarified two-part test focusing on the Second

        Amendment’s text and historical tradition, some of our sister circuits have held that

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        § 922(g)(1)’s categorical ban is unconstitutional as applied to certain nonviolent felons.

        E.g., United States v. Duarte, 101 F.4th 657, 676–77 (9th Cir. 2024) (holding that the

        government failed to “prove that it is consistent with this Nation’s historical tradition of

        firearm regulation for Congress to ban permanently, by making it a felony, a non-violent

        offender like Duarte from possessing a firearm even after he has already served his terms

        of incarceration” (emphasis added) (cleaned up)), vacated and reh’g granted by --- F.4th

        ---, 2024 WL 3443151, at *1 (9th Cir. July 17, 2024); Range v. Att’y Gen., 69 F.4th 96, 98,

        103–06 (3d Cir. 2023) (en banc) (holding the same with respect to a defendant who had

        been previously convicted only of “making a false statement to obtain food stamps”); cf.

        Kanter v. Barr, 919 F.3d 437, 451 (7th Cir. 2019) (Barrett, J., dissenting) (“Founding-era

        legislatures did not strip felons of the right to bear arms simply because of their status as

        felons.”). But see Vincent v. Garland, 80 F.4th 1197, 1199–1202 (10th Cir. 2023) (rejecting

        a nonviolent felon’s as-applied challenge to § 922(g)(1) post-Bruen); United States v.

        Jackson, 69 F.4th 495, 505–06 (8th Cir. 2023) (same).

               But no federal court has accepted the extraordinary claim that § 922(g)(1) is facially

        unconstitutional—that is, unconstitutional in all its applications.1

               And for good reason. As multiple jurists and historians have chronicled, there is a

        robust historical tradition in this country of prohibiting certain individuals deemed to be



               1
                 Our own Court just recently rejected such a claim. United States v. Canada, 103
        F.4th 257, 258 (4th Cir. 2024) (“Section 922(g)(1) is facially constitutional because it has
        a plainly legitimate sweep and may constitutionally be applied in at least some set of
        circumstances.” (cleaned up)).

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        dangerous from possessing a firearm. See, e.g., United States v. Perez-Garcia, 96 F.4th

        1166, 1189 (9th Cir. 2024) (“[T]he Anglo-American right to keep and bear arms for self-

        defense has always coexisted with legislative authority to disarm groups or individuals

        whose possession of firearms would pose an unusual danger, beyond the ordinary citizen,

        to themselves or others.” (emphasis added)); Duarte, 2024 WL 2068016, at *15–18, *20

        (discussing various founding-era laws disarming certain groups of people, such as British

        loyalists, based on a perceived threat of violence or rebellion); Kanter, 919 F.3d at 454,

        458 (Barrett, J., dissenting) (“The historical evidence . . . [shows] that the legislature may

        disarm those who have demonstrated a proclivity for violence or whose possession of guns

        would otherwise threaten the public safety. . . . [F]ounding-era legislatures categorically

        disarmed groups whom they judged to be a threat to the public safety.” (emphases added));

        Joseph G.S. Greenlee, The Historical Justification for Prohibiting Dangerous Persons from

        Possessing Arms, 20 Wyo. L. Rev. 249, 265 (2020) (“Like the English, and out of similar

        concerns of violent insurrections, the colonists disarmed those who might rebel against

        them. . . . [T]he justification was always that those being disarmed were dangerous.”

        (emphasis added)).

               The upshot of all this is that even if § 922(g)(1) is unconstitutional as applied to

        certain, nonviolent felons—and that issue is far from settled—it assuredly is not

        unconstitutional as applied to Price, an indisputably recidivist violent felon.




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               That being so, Price cannot succeed in bringing a facial challenge to § 922(k).2 For

        if he can be constitutionally prohibited from possessing any firearm without running afoul

        of the Second Amendment, then he can surely be prohibited from possessing a discrete

        subset of firearms—namely, firearms with obliterated serial numbers—without running

        afoul of it too.

               For this reason, I would not reach the weighty and difficult issues the majority

        reaches—and decides—today. It is not necessary to do so to resolve this case. And as the

        Chief Justice has exhorted, “If it is not necessary to decide more to dispose of a case, then

        it is necessary not to decide more.” Dobbs v. Jackson Women’s Health Org., 597 U.S. 215,

        348 (2022) (Roberts, C.J., concurring). In deciding more than is necessary to resolve the

        challenge made here, the majority offers an advisory opinion. And that course runs head-

        long into Article III’s limits on the federal courts’ powers, United Public Workers of

        America (C.I.O.) v. Mitchell, 330 U.S. 75, 89 (1947), as well as the “fundamental principle

        of judicial restraint that courts should neither anticipate a question of constitutional law in

        advance of the necessity of deciding it nor formulate a rule of constitutional law broader

        than is required by the precise facts to which it is to be applied.” Wash. State Grange v.

        Wash. State Republican Party, 552 U.S. 442, 450 (2008) (cleaned up). I would instead

        reverse the district court’s dismissal of the § 922(k) count on the clear ground that Price



               2
                 Price could certainly challenge as a factual matter whether he possessed a firearm,
        or if he did, whether the serial number of the gun in question was obliterated. These are
        elements of the § 922(k) crime that the government was required to prove. But Price has
        not contested either requirement as a factual matter.

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        has failed to carry his heavy burden of demonstrating that the statute “is unconstitutional

        in all its applications.” Bucklew, 587 U.S. at 138.3 Respectfully, therefore, I concur only in

        the judgment.




               3
                The majority wrongly concludes this approach is “problematic” because of Double
        Jeopardy concerns. Ante at 15. That is simply incorrect. The approach taken here does not
        rewrite or otherwise change the elements needed for a conviction under either statute.
        Under both the majority’s reading and my own, § 922(g)(1) prohibits an individual from
        being a felon in possession of a firearm, while § 922(k) prohibits an individual from being
        in possession of a firearm with an obliterated serial number. Because both offenses require
        proof of an element that the other does not, no violation of the Double Jeopardy Clause has
        occurred when a defendant is convicted of both offenses. See Blockburger v. United States,
        284 U.S. 299, 304 (1932).

               To illustrate, being a felon in possession of a firearm is not an element of a § 922(k)
        offense. All proof of felon status establishes is that the felon defendant’s Second
        Amendment facial challenge fails as a defense to his prosecution under § 922(k). And,
        obviously, the Government must prove beyond a reasonable doubt as an element of the
        § 922(k) charge that the firearm’s serial number is obliterated. That clearly is not an
        element of a § 922(g)(1) charge.

               All that this concurrence does is follow the separate principle of standing to bring a
        facial challenge—observing that a criminal defendant cannot challenge the
        constitutionality of a statute if the statute has had no “adverse impact on his own rights,”
        based on arguments that the statute may infringe on the constitutional rights of “third
        parties in hypothetical situations.” Ulster Cnty., 442 U.S. at 154–55. And on that point, the
        Supreme Court has issued clear guidance: if the alleged constitutional defect does not arise
        with respect to Price, then he lacks standing to bring a facial challenge on behalf of other
        potential criminal defendants.

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        QUATTLEBAUM, Circuit Judge, with whom Judge RUSHING joins, concurring in

        judgment:

               When it comes to determining whether regulations violate the Second Amendment,

        New York Rifle & Pistol Association v. Bruen presents both a test and a puzzle. 597 U.S. 1

        (2022). The test allocates burdens across two steps. If the Second Amendment’s “plain

        text” covers the individual’s conduct, the amendment “presumptively protects that

        conduct.” Id. at 24. And if so, “[t]he government must then justify its regulation by

        demonstrating that it is consistent with the Nation’s historical tradition of firearm

        regulation.” Id. at 24. The puzzle is ascertaining where the amendment’s limits—

        acknowledged in Bruen and before—fit into Bruen’s two steps.

               The limit central to this appeal is common use. The sorts of weapons that the Second

        Amendment protects are those “in common use at the time.” Id. at 21 (quoting District of

        Columbia v. Heller, 554 U.S. 570, 627 (2008)). That is, “the Second Amendment does not

        protect those weapons not typically possessed by law-abiding citizens for lawful purposes.”

        Heller, 554 U.S. at 625. But, while this limit to the Second Amendment is clear, the puzzle

        we face is whether to consider it at Bruen’s first or second step.

               This methodological point matters. Bruen seems to burden different parties on each

        of its two steps. Bruen does not specify who bears the burden on the plain text step but

        confirms that if the plain text does cover the conduct of the person challenging the law, the

        government “must then justify its regulation by demonstrating that it is consistent with the

        Nation’s historical tradition of firearm regulation.” 597 U.S. at 24. This sequencing



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        suggests the burden shifts, from the challenger on the first step to the government on the

        second. In some cases, the burden makes all the difference.

               In this case, the majority analyzes common use at Bruen’s plain text step, while

        Judge Richardson in dissent and Judge Niemeyer in concurrence reason that common use

        falls under Bruen’s historical tradition step. Our sister circuits have also splintered on the

        issue.1 In my view, common use comes into play on step two. Even so, I would reverse the

        district court’s decision holding 18 U.S.C. § 922(k) unconstitutional because I believe the

        government has satisfied its burden of establishing that weapons with obliterated serial

        numbers are not “‘in common use’ today for self-defense” or other lawful purposes. Id. at

        32 (quoting Heller, 554 U.S. at 627).



                                                      I.

               Before articulating or applying rules on common use, we must first solve Bruen’s

        puzzle. Does common use fit into Bruen’s first step as a matter of plain text or into Bruen’s




               1
                 Compare Antonyuk v. Chiumento, 89 F.4th 271, 312 (2d Cir. 2023) (step one),
        vacated sub nom. Antonyuk v. James, No. 23-910, 2024 WL 3259671 (U.S. July 2, 2024);
        United States v. Rahimi, 61 F.4th 443, 454 (5th Cir. 2023) (step one), rev’d,
        144 S. Ct. 1889 (2024), and United States v. Alaniz, 69 F.4th 1124, 1129 (9th Cir. 2023)
        (step one), with Teter v. Lopez, 76 F.4th 938, 949–50 (9th Cir. 2023) (step two), reh’g en
        banc granted, vacated, 93 F.4th 1150 (9th Cir. 2024) (mem.). See also Bevis v. City of
        Naperville, 85 F.4th 1175, 1198 (7th Cir. 2023) (“There is no consensus on whether the
        common-use issue belongs at Bruen step one or Bruen step two.”).



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        second step as a matter of historical tradition? To answer this question, we must understand

        what “plain text” encompasses.

               On one theory, “plain text” implies a limited inquiry on Bruen’s first step into

        definitional sources, saving historical sources for an ultimate determination on the second

        step. Id. at 24. Since common use limits the types of weapons protected, the critical word

        is “Arms.” So, this reading would direct us to ascertain the semantic meaning of “Arms”

        on Bruen’s first step by referring to founding-era dictionaries defining “Arms.” And if this

        reading is correct, our work at step one is easy. Heller already explained that eighteenth-

        century dictionaries defined “Arms” as “weapons of offence, or armour of defence” or “any

        thing that a man wears for his defence, or takes into his hands, or useth in wrath to cast at

        or strike another.” 554 U.S. at 581. Nothing in those definitions limits “Arms” to those in

        common use for lawful purposes. Thus, Bruen’s first step leaves no room for common use

        if plain text is defined only by dictionaries and other lexical sources that inform semantic

        meaning.

               But Bruen is not so simple. Bruen alternatively could be read to suggest plain text

        is based on more than lexical sources. For starters, Bruen relied heavily on Heller, and

        Heller demonstrated that history informs the entire Second Amendment analysis, including

        the textual analysis. As Bruen recognized, history permeated every part of

        Heller,“[w]hether it came to defining the character of the right (individual or militia

        dependent), suggesting the outer limits of the right, or assessing the constitutionality of a

        particular regulation.” Bruen, 597 U.S. at 22. When Heller addressed the scope of the

        Second Amendment, Heller did not rely only on lexicon. Instead, it privileged historical

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        sources of all sorts. To be sure, the Court’s interpretation of the word “Arms” leaned most

        heavily on eighteenth-century dictionaries. See Heller, 554 U.S. at 581. But when

        interpreting “keep and bear,” the Court referred not only to those dictionaries but also to

        other founding-era sources, like treatises and state constitutions. Id. at 582–84. After

        stringing together these “textual elements,” Heller declared that they codified a preexisting

        individual right to possess and carry weapons in case of confrontation, and the Court used

        history dating back to late seventeenth-century England to confirm its reading of the words.

        Id. at 592–95. The Court also surveyed “analogous arms-bearing rights in state

        constitutions” and history from the drafting of the amendment through the end of the

        nineteenth century. Id. at 600–19. In short, Heller’s reliance on varied historical sources

        and Bruen’s reliance on Heller suggest that Bruen did not contemplate limiting its textual

        step to lexical sources.

               Rather, history has some role to play on both of Bruen’s steps. On the first step,

        history “elucidates how contemporaries understood the text—for example, the meaning of

        the phrase ‘bear Arms.’” United States v. Rahimi, 144 S. Ct. 1889, 1925 (2024) (Barrett,

        J., concurring) (quoting Heller, 554 U.S. at 582–92). On the second step, history “also

        plays the more complicated role of determining the scope of the pre-existing right that the

        people enshrined in our fundamental law.” Id. Justice Barrett has called this latter use of

        history “original contours” history, in that “[i]t looks at historical gun regulations to

        identify the contours of the right.” Id. Like Justice Barrett, I believe that Bruen’s first step

        saves room for more than founding-era dictionaries, allowing courts to refer to historical

        sources to interpret the Second Amendment’s text, just as the Supreme Court did in Heller.

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        As already discussed, lexicon would not limit “Arms” to weapons in common use, but

        going beyond lexical sources to interpret the Second Amendment’s plain text opens the

        possibility of considering common use on Bruen’s first step.

               Nevertheless, further digging unearths additional puzzle pieces that confirm

        common use falls under step two. In Bruen, the Supreme Court described common use as

        “fairly supported by the historical tradition of prohibiting the carrying of ‘dangerous and

        unusual weapons.’” Id. at 21 (quoting Heller, 554 U.S. at 627). “Drawing from this

        historical tradition,” the Court explained, “the Second Amendment protects only the

        carrying of weapons that are those ‘in common use at the time,’ as opposed to those that

        ‘are highly unusual in society at large.’” Id. at 47 (quoting Heller, 554 U.S. at 627) (internal

        citations omitted); see also id. at 28 (“Much like we use history to determine which modern

        ‘arms’ are protected by the Second Amendment, so too does history guide our

        consideration of modern regulations that were unimaginable at the founding.”). As such,

        weapons in common use for lawful purposes and “dangerous and unusual weapons” are

        opposite sides of the same coin. Given that linkage, since the regulation of “dangerous and

        unusual weapons” is a step two question—and no one questions that—it follows that

        common use is too.

               Also supporting this conclusion is Heller’s description of other historically

        grounded limitations of the Second Amendment. Just before discussing common use,

        Heller mentioned other historically grounded limiting principles. Without purporting to

        undertake “an exhaustive historical analysis . . . of the full scope of the Second

        Amendment,” Heller listed several examples of “presumptively lawful regulatory

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        measures” including “longstanding prohibitions on the possession of firearms by felons

        and the mentally ill.”2 554 U.S. at 626–27 & n.6. Heller characterized those longstanding

        regulations as “presumptively lawful,” not conclusively lawful. Id. Bruen’s first step

        presumptively protects conduct covered by the Second Amendment’s plain text. See

        597 U.S. at 24. But, if the plain text does not cover conduct, the Second Amendment does

        not protect it, full stop. So, if felons and the mentally ill are not among “the people” as a

        matter of plain text, then “longstanding prohibitions on the possession of firearms by felons

        and the mentally ill” would be conclusively consistent with the Second Amendment. But

        Heller didn’t say that. It said such limitations are only presumptively consistent with the

        Second Amendment. Heller, 554 U.S. at 626–27 & n.6. To generate a presumption of

        constitutionality, as opposed to a conclusion of constitutionality, historically justified

        limiting principles must be left to Bruen’s second step. And, since common use is also a

        historically justified limiting principle, it is also the stuff of step two.

               To be fair, the conclusion that common use falls under Bruen’s second step must be

        squared with how Bruen applied the common-use principle to a New York licensing regime

        for the concealed carry of a handgun. Bruen discussed common use in the step one, plain

        text portion of the opinion. There, the Court stated that handguns are “weapons ‘in common



               2
                 As another example, Heller also referred to “laws forbidding the carrying of
        firearms in sensitive places such as schools and government buildings.” Heller, 554 U.S.
        at 626–27 & n.6. Bruen used such sensitive-place regulations to exemplify the analogical
        approach it envisioned for determining when a historical tradition is relevantly similar to a
        modern regulation. Bruen, 597 U.S. at 30–31. Thus, Bruen implies that sensitive-place
        regulations are justified by historical tradition at step two, not by plain text at step one.

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        use’ today for self-defense.” Id. at 32 (quoting Heller, 554 U.S. at 627). Why? Candidly, I

        have no compelling explanation. One possibility might be, as the plaintiffs suggested at

        oral argument, that the Court referred to this concept just to clear the deck of an undisputed

        point at the outset regardless of whether it belonged in step one or step two. Under that

        reading, the reference to common use occurred before the Court did any real step one work.

        And since common use was not an issue with which the Court was grappling in Bruen, we

        should not place undue weight on the location of that discussion. Another possibility might

        be that, although the plain definition of “Arms” encompasses more than weapons in

        common use, weapons in common use are necessarily “Arms.” By this understanding, the

        Court may have referred to common use simply to note that, if there was no question as to

        this narrower concept, there certainly could be no dispute that the conduct at issue was

        covered by the Second Amendment’s broader plain text.

               Whatever reason common use appeared in Bruen’s step one discussion, Bruen also

        discussed common use in its step two analysis. There, Bruen invoked the common-use

        concept as it scoured a historical record spanning medieval England to the early twentieth

        century. It referred to common use to explain why historical laws prohibiting the carrying

        of weapons then considered dangerous and unusual could not justify current laws

        restricting the carrying of the same weapons today when they are no longer dangerous and

        unusual. See id. at 47. If Bruen’s discussion of common use at step one means that issue

        must be assessed there, why engage with the issue at step two?

               In recent weeks, the Supreme Court has provided another piece to Bruen’s puzzle.

        In United States v. Rahimi, 144 S. Ct. 1889 (2024), the Court applied the Bruen test to hold

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        that “[a]n individual found by a court to pose a credible threat to the physical safety of

        another may be temporarily disarmed consistent with the Second Amendment.” Id. at 1903.

        The Court reasoned that such bans fit within our nation’s historical tradition of “preventing

        individuals who threaten physical harm to others from misusing firearms.” Id. at 1896–97.

        Without pausing to discuss the Second Amendment’s plain text, the Rahimi majority used

        historical tradition to “delineate the contours of the right,” id. at 1897, and in articulating

        Bruen’s test, it referred only to the second step, see id. at 1896 (“In Bruen, we explained

        that when a firearm regulation is challenged under the Second Amendment, the

        Government must show that the restriction ‘is consistent with the Nation’s historical

        tradition of firearm regulation.” (quoting Bruen, 597 U.S. at 24)); see also id. at 1898 (“As

        we explained in Bruen, the appropriate analysis involves considering whether the

        challenged regulation is consistent with the principles that underpin our regulatory

        tradition.”). Though they joined the majority, several Justices emphasized in separate

        writings that limits on the right to bear arms stem from historical tradition, not the

        amendment’s broad text. See id. at 1912–13 (Kavanaugh, J., concurring) (endorsing the

        use of history “to determine exceptions to broadly worded constitutional rights”); id. at

        1925 (Barrett, J., concurring) (asserting that the Court uses history to identify the “original

        contours” of the right to bear arms). Thus, although it did not take up the common use

        question, Rahimi signals, if not confirms, that many of the various principles that limit the

        Second Amendment’s scope stem from historical tradition rather than the amendment’s

        plain text.



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               In the end, perhaps not all the puzzle pieces are in place. But enough are. Common

        use—one of the limits on the Second Amendment that the Supreme Court has repeatedly

        recognized—flows from Bruen’s historical tradition second step.



                                                       II.

               Since common use is a step two question, the government bears the burden of

        showing that 18 U.S.C. § 922(k) is “consistent with the Nation’s historical tradition of

        firearm regulation.” Bruen, 597 U.S. at 24. To do so, the government can and did invoke

        the historical tradition of regulating dangerous and unusual weapons, which the Supreme

        Court has repeatedly recognized “fairly support[s]” regulations of weapons not commonly

        used for lawful purposes. Id. at 21 (quoting Heller, 554 U.S. at 627); see also Heller,

        554 U.S. at 625, 627. Since Bruen and Heller have already derived this limiting principle

        from historical tradition, the government does not need to replicate the Court’s historical

        spadework. See Rahimi, at 1898 (“The law must comport with the principles underlying

        the Second Amendment, but it need not be a ‘dead ringer’ or a ‘historical twin.’” (emphasis

        added) (quoting Bruen, 597 U.S. at 30)). Rather, it need only demonstrate that the historical

        principle—here, common use—supports § 922(k). Section 922(k) prohibits the possession

        of firearms with removed, obliterated or altered serial numbers.3 The critical question, then,

        is whether the government has carried its burden of establishing that those weapons are not

        commonly used for lawful purposes.


               3
                   Like the majority, I focus on firearms with obliterated serial numbers.

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               If common use hinges on hard data alone, the answer is likely no. The government

        offers no compelling statistics that show how frequently people use guns with obliterated

        serial numbers for lawful purposes like self-defense. Instead, the government relies on

        statistics indicating the low frequency with which such guns are used or suspected of being

        used in crimes and submitted for tracing to the Bureau of Alcohol, Tobacco and Firearms.

        If guns with obliterated serial numbers are rarely used for unlawful purposes, the

        government argues, they cannot be commonly used for lawful purposes. From an empirical

        standpoint, that seems like a stretch to me. I am hard-pressed to see how the data support

        any conclusions as to the use of such guns for lawful purposes. But, does common use turn

        on statistical proof?

               To be sure, of the various limiting principles that the Court has distilled from

        historical tradition, common use could, in many cases, be proved or disproved with

        statistics on the frequency with which a weapon is used. And doing so grounds the decision

        in a more objective, predictable analytical framework.4




               4
                  But to the extent we rely on numbers, methodological questions complicate the
        task of calculating both a numerator and a denominator. For instance, when do we assess
        usage—when the challenged regulation is promulgated, when the challenge is made, when
        the court decides it? Where do we look—at the state from which the challenge originates,
        across the entire country? Do we focus on gunowners, the adult population, the entire
        population? And then, even after setting the appropriate parameters, how much usage does
        it take to make usage “common”? Other cases will require courts to answer these questions.
        But no matter the answers, for the reasons that follow, it is clear that firearms with
        obliterated serial numbers are not commonly used for lawful purposes. That conclusion is
        all it takes to resolve this appeal, and I would save these questions for another day.

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               But the Supreme Court has never said statistical proof is required. In fact, it has said

        little about how to assess common use. In describing its second step, Bruen says only that

        the government must demonstrate that the regulation is consistent with historical tradition.

        See 597 U.S. at 17 (“[T]he government must demonstrate that the regulation is consistent

        with this Nation’s historical tradition of firearm regulation.”); id. at 19 (“[T]he government

        must affirmatively prove that its firearms regulation is part of the historical tradition that

        delimits the outer bounds of the right to keep and bear arms.”); id. at 24 (“The government

        must then justify its regulation by demonstrating that it is consistent with the Nation’s

        historical tradition of firearm regulation.”).

               After restating its test, Bruen analogized the government’s step two burden to its

        burden in defending laws against First Amendment challenges. To carry the burden of

        showing that “expressive conduct falls outside of the category of protected speech,” “the

        government must generally point to historical evidence about the reach of the First

        Amendment’s protections.” Id. at 24–25 (citing United States v. Stevens, 559 U.S. 460,

        468–71 (2010)). In Stevens, the Court reiterated several “historical and traditional

        categor[ies]” of speech “long familiar to the bar”—including obscenity, defamation, fraud,

        incitement, and speech integral to criminal conduct—that do not receive full First

        Amendment protection. 559 U.S. at 468–69. While doctrine has developed a set of

        elements for each of these traditional categories, it has not limited the government to data

        alone to carry its burden of establishing that one of these categories encompasses the

        expressive conduct at issue.



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               Returning to the Second Amendment, Bruen did not resort to statistical evidence to

        establish that handguns are “in ‘common use’ for self-defense today.” Instead, it quoted

        Heller’s observation that handguns are “the quintessential self-defense weapon.” Bruen,

        597 U.S. at 47 (quoting Heller, 554 U.S. at 629). For its part, Heller did not support its

        statement of empirical fact with data either. Rather, Heller posited:

               There are many reasons that a citizen may prefer a handgun for home
               defense: It is easier to store in a location that is readily accessible in an
               emergency; it cannot easily be redirected or wrestled away by an attacker; it
               is easier to use for those without the upper-body strength to lift and aim a
               long gun; it can be pointed at a burglar with one hand while the other hand
               dials the police. Whatever the reason, handguns are the most popular weapon
               chosen by Americans for self-defense in the home, and a complete
               prohibition of their use is invalid.

        554 U.S. at 629. Elsewhere, Heller wrote that handguns are “the most preferred firearm in

        the nation to ‘keep’ and use for protection of one’s home and family.” Id. at 628–29

        (quoting Parker v. District of Columbia, 478 F.3d 370, 400 (D.C. Cir. 2007)).5 These

        comments seem at least partly rooted in what the Court deemed obvious rather than in data.

        Following the Supreme Court’s lead, I see no reason courts cannot determine absent data

        whether guns with obliterated serial numbers are in common use for lawful purposes. To

        me, at least here, logic and common sense are appropriate to consider in assessing whether

        the government has met its burden.


               5
                Unlike the Supreme Court, the D.C. Circuit cited a journal article with survey data
        to support its empirical assertion. See Parker, 478 F.3d at 400 (citing Gary Kleck & Marc
        Gertz, Armed Resistance to Crime: The Prevalence and Nature of Self-Defense with a Gun,
        86 J. Crim. L. & Criminology 150, 182–83 (1995)). But Heller cited Parker not the
        underlying data. That indirect use of data does not suggest that Heller requires us to
        disregard logic and common sense, especially considering Heller directly deployed both.

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               Reliance on more malleable tools, I confess, leaves me a bit queasy. Straying from

        more concrete evidence might tempt judges to dress their preferred outcomes as flowing

        from logic or common sense. Both, like beauty, may naturally lie in the eye of the beholder.

        For two reasons, however, those concerns do not sway me here. One, as already discussed,

        Heller and Bruen show us that logic and common sense are appropriate to consider when

        determining common use. Two, statistics seem particularly inconclusive, and perhaps even

        unhelpful, in this particular case. To explain, it is unsurprising that the parties produced

        limited data. After all, can we expect folks voluntarily to disclose that they use outlawed

        guns? The answer seems to be no, making statistics—aside from those seized in criminal

        investigations—hard to harvest. So, in this case, I would look beyond statistics to evaluate

        common use.

               Doing so, the government asserts that the predominant reason to possess a gun with

        an obliterated serial number, as opposed to one with an intact serial number, is to evade

        law enforcement. After all, as the parties agree, the presence or absence of a serial number

        has no effect on how a gun functions. “Because a firearm with a serial number is equally

        as effective as a firearm without one, there would appear to be no compelling reason why

        a law-abiding citizen would prefer an unmarked firearm. The weapons would then have

        value primarily for persons seeking to use them for illicit purposes.” United States v.

        Marzzarella, 614 F.3d 85, 95 (3d Cir. 2010) (affirming constitutionality § 922(k) during

        the interregnum of Heller and Bruen).

               In response, Price posits that a person “might possess an unserialized firearm

        because they received it as a gift” or “for other “innocuous reasons.” Resp. Br. at 9. The

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        dissent adds that a gun owner might wish to avoid Big Brother’s watchful eye, even if not

        to conceal criminal activity. These are fair points, I suppose. But those possibilities do not

        overcome the government’s more persuasive logic. Crediting that logic, the Third Circuit

        before Bruen and a burgeoning brigade of district courts after Bruen have all proven unable

        to “conceive of a lawful purpose for which a person would prefer an unmarked firearm.”

        Marzzarella, 614 F.3d at 99; see also United States v. Reyna, No. 3:21-cr-41, 2022 WL

        17714376, at *5 (N.D. Ind. Dec. 15, 2022); United States v. Avila, 672 F. Supp. 3d 1137,

        1143–44 (D. Colo. 2023); United States v. Serrano, 651 F. Supp. 3d 1192, 1211 (S.D. Cal.

        2023); United States v. Trujillo, 670 F. Supp. 3d 1235, 1241 (D.N.M. 2023); United States

        v. Walter, No. 3:20-cr-39, 2023 WL 3020321, at *5 (D.V.I. Apr. 20, 2023); United States

        v. Dangleben, No. 3:23-mj-44, 2023 WL 6441977, at *7 (D.V.I. Oct. 3, 2023); United

        States v. Dixson, No. 4:21-cr-54, 2023 WL 7102115, at *3 (E.D. Mo. Oct. 26, 2023);

        United States v. Sing-Ledezma, --- F. Supp. 3d ---, 2023 WL 8587869, at *3–4 (W.D. Tex.

        Dec. 11, 2023); United States v. Alberts, No. CR 23-131, 2024 WL 1486145, at *4 (D.

        Mont. Apr. 5, 2024).

               What’s more, guns with obliterated serial numbers have long been regulated. Since

        1938, federal law has made it unlawful for anyone “to transport, ship, or knowingly receive

        in interstate or foreign commerce any firearm from which the manufacturer’s serial number

        has been removed, obliterated or altered.” Federal Firearms Act of 1938, Pub. L. No. 75-

        785, § 2(i), 52 Stat. 1250, 1251. Then, in 1968, Congress began to require serial numbers

        on all guns manufactured in or imported to the United States. Gun Control Act of 1968,

        Pub. L. No. 90-351, § 902, 82 Stat. 197, 232. Eventually, in 1990, Congress prohibited

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        possession of guns with removed, obliterated, or altered serial numbers. Crime Control Act

        of 1990, Pub. L. No. 101-647, § 2202(b), 104 Stat. 4789, 4856. Besides those federal laws,

        forty-one states have outlawed either obliterating serial numbers, possessing guns with an

        obliterated serial number or both. See Brief of the District of Columbia, the States of

        California, Colorado, Connecticut, Delaware, Hawaii, Idaho, Illinois, Maine, Maryland,

        Massachusetts, Michigan, Minnesota, New Jersey, New Mexico, New York, North

        Carolina, Ohio, Oregon, Pennsylvania, Rhode Island, and Washington, and the

        Commonwealth of the Northern Mariana Islands as Amici Curiae in Support of Appellants,

        United States v. Price (No. 22-4609). Considering federal and state governments have long

        cracked down on the trafficking of guns with obliterated serial numbers, it is hard to

        imagine that such guns are even commonly available to law-abiding Americans, let alone

        commonly used for lawful purposes.

               Wrapping up, I conclude that the government has “justif[ied] its regulation by

        demonstrating that it is consistent with the Nation’s historical tradition of firearm

        regulation.” Bruen, 597 U.S. at 24. It has demonstrated that guns with obliterated serial

        numbers are not “‘in common use’ today for self-defense” or other lawful purposes. Id. at

        24, 32 (quoting Heller, 554 U.S. at 627).



                                                    III.

               For the reasons explained above, not those of the majority, I concur in the majority’s

        conclusion that the district court’s decision as to § 922(k) should be reversed and the case

        remanded.

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        GREGORY, Circuit Judge, dissenting:

               Today, our Court holds that some weapons that are indisputably commonly owned

        for lawful purposes—handguns, rifles, and shotguns—are not covered under the Second

        Amendment. In coming to that conclusion, the majority: (1) labels firearms with removed,

        altered, or obliterated serial numbers as a type of weapon; (2) concludes that type of weapon

        is not in common use for a lawful purpose; and (3) excludes those weapons from Second

        Amendment protection based solely on the Amendment’s plain text under step one of the

        framework set forth in New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1 (2022).

        But nothing in the Second Amendment’s text or in the Supreme Court’s precedent supports

        the majority’s approach to the analysis required at step one under Bruen.

               Nevertheless, our Court has decided that 18 U.S.C. § 922(k) is constitutional

        because the majority cannot fathom why a person would own a firearm with an imperfect

        serial number for any non-criminal purpose. But “[a] constitutional guarantee subject to

        future judges’ assessments of [what is fathomable] is no constitutional guarantee at all.”

        Bruen, 597 U.S. at 22. For fathomability, like beauty, is often in the eye of the beholder.

        Regrettably, not only does today’s decision depart from the analytical framework set forth

        in Bruen, it also could have a disparate impact that may not be apparent.


                                                      I.

               The flaws in the majority’s analysis begin with its focus on the prohibition identified

        in § 922(k) as opposed to the Second Amendment right. According to the majority, this

        case can be resolved at step one of the Bruen analysis because the only question before us


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        is “whether firearms with obliterated serial numbers are in common use for lawful

        purposes.” Majority Op. 21. In framing the question in that way, the majority implies that

        firearms with removed, altered, or obliterated serial numbers are themselves a “type of

        weapon” based solely on that characteristic. From there, the majority purports to determine

        the constitutionality of § 922(k) by assessing whether this “new type of weapon” is

        protected by the Second Amendment. Against that backdrop, the majority points to the

        lack of evidence that such weapons are commonly owned and their potential use for

        criminality to conclude that the weapons are not in common use for lawful purposes.

               Although the majority’s approach is not identical to means-end scrutiny, it

        nonetheless improperly subjects the Second Amendment right to a type of case-by-case

        inquiry. Notably, the Supreme Court has rejected that approach and admonished the

        judiciary for deferring to the legislature’s interest balancing in the context of the Second

        Amendment right. Bruen, 597 U.S. at 26 (“But while that judicial deference to legislative

        interest balancing is understandable—and, elsewhere, appropriate—it is not deference that

        the Constitution demands here”). According to the Supreme Court “[t]he very enumeration

        of the right takes out of the hands of government—even the Third Branch of Government—

        the power to decide on a case-by-case basis whether the right is really worth insisting upon.”

        District of Columbia v. Heller, 554 U.S. 570, 634 (2008) (emphasis in original). It follows

        that the judiciary cannot assess Second Amendment challenges with reference to its own

        view of how citizens should exercise their right to bear arms. This is particularly so when

        determining whether the presumption of constitutional protection applies at step one.



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               Instead, the court’s role at step one is limited to determining whether the Second

        Amendment generally protects the people, the type of weapon, and the proposed course of

        conduct that § 922(k) covers. That is evinced by the Supreme Court’s limited undertaking

        during its own analysis in Bruen. At step one of its Bruen analysis, the Supreme Court

        determined that the Second Amendment generally protected carrying handguns publicly

        for self-defense. Bruen, 597 U.S. at 26. It reached that conclusion without referencing any

        particular handgun or considering any specific characteristics.

               The Supreme Court’s decision to conduct a general inquiry in that portion of the

        opinion suggests the following. First, the Second Amendment’s protection presumptively

        applies at step one if the challenged statute covers people, arms, and conduct generally

        covered under the Constitution. Second, in determining whether a weapon is an “arm,”

        courts must determine whether the type of weapon is commonly used for lawful purposes.

        Id. at 32–33. Third, “type of weapon” is understood in its ordinary sense—handguns, rifles,

        and shotguns, for example. A serial number is therefore not relevant to the Bruen step one

        analysis because it does not alter a firearm’s type or common use for a lawful purpose. But

        the majority claims that it does. According to the majority, removing a serial number from

        a weapon or adding illegal contraband to it “produces a weapon that is not in common use

        for a lawful purpose.” Majority Op. at 24–25. I disagree.

               As a threshold matter, the Bruen step one inquiry into “types of weapons” is general

        and therefore does not concern a specific firearm. In other words, a court need not

        determine whether firearms with any unique characteristic—a particular grip, sight, or

        stock, for example—are in common use in order for the firearm to be presumptively

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        protected under the Second Amendment. As long as the weapon is of a type in common

        use (a handgun or rifle, for example) the presumption applies.

               Section 922(k) applies to all firearms with removed, altered, or obliterated serial

        numbers. Given its broad reach, it necessarily bans at least some handguns, rifles, and

        shotguns—types of firearms that we know are in common use for lawful purposes. That fact

        alone is sufficient for the Second Amendment’s protection to presumptively apply at step one

        in this case. Indeed, the statute even bans firearms with serial numbers that were removed or

        altered simply by wear and tear, although they were perfectly serialized when purchased. In

        this way, the statute risks criminalizing the mere passage of time and general use.

               Moreover, under the majority’s reasoning, any change to a firearm, no matter how

        minor, would produce a new type of weapon. But the notion that any change to an object

        produces an entirely new object is simply false. Just as docking a dog’s tail does not alter

        the breed of dog, or trimming a tree does not produce a new genus of tree, the removal of

        a serial number does not transform a handgun or rifle into a new type of weapon under the

        Bruen step one analysis. Absent any enhancing accessories or functional modifications, a

        Glock 19 handgun, is a Glock 19 handgun, whether it is shiny or dull, red or green,

        serialized or not.    Categorically banning firearms that are otherwise presumptively

        protected under the Second Amendment based solely on the condition of their serial

        number is as logical as concluding that a Schnauzer is not a canine simply because its tail

        is docked. The only way to make that conclusion tenable is to define canine with reference

        solely to the condition of a tail.



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               That is what our Court has chosen to do. In defining the type of weapon at issue as

        firearms with removed, altered, or obliterated serial numbers, the majority commits an error

        that dooms its common use analysis from the very start. That initial error is only

        compounded by the majority’s later determination that firearms with removed, altered, or

        obliterated serial numbers are useful only for criminal purposes. According to the majority,

        “if firearms with obliterated serial numbers are not even in common use for criminal

        purposes—the only scenario in which we can conceive a reason to prefer such weapons—

        then we think it fair to conclude that such arms are not in common use for lawful purposes.”

        Majority Op. at 23. Not so.

               While we do not have data regarding lawful use of firearms without serial numbers,

        it is well known that certain types of firearms are in common use today. For example,

        handguns and rifles, two types of weapons banned under § 922(k), are undoubtedly in

        common use for self-defense, home defense, hunting, and other lawful purposes. Given

        that reality, whether specific handguns and rifles—those with removed, altered, or

        obliterated serial numbers—are in common use is of no moment at step one.

               What’s more, even weapons useful for criminal purposes are presumptively

        protected at step one if they are in common use for lawful purposes. Handguns, for example,

        are used in the majority of mass shootings, murders, and suicides in our nation each year.

        But, because handguns are the type of weapon many Americans choose for self-defense,

        they are presumptively protected under the Second Amendment. See Bruen, 597 U.S. at 47

        (stating that handguns are “in fact, ‘the quintessential self-defense weapon’” and

        “indisputably in ‘common use’ for self-defense today”). It follows then that any weapon of

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        a type in common use for lawful purposes is presumptively protected at step one irrespective

        of whether the condition of its serial number makes it useful in committing crimes.

               That being the case, there is no basis to support the conclusion that all firearms with

        removed, altered, or obliterated serial numbers are excluded from the right to keep and bear

        arms based on the Second Amendment’s plain text. However, given the error the majority

        committed at the outset—defining the type of weapon at issue based on § 922(k)’s

        prohibition—nothing could have saved its step one analysis. Unfortunately, our Court’s

        determination that certain firearms in common use fall outside of the Constitution’s

        protection may have a disparate impact on males of color.


                                                     II.

               The unintended consequences of our Court’s decision in this case add weight to the

        albatross of mass incarceration that burdens our nation. African Americans and Hispanic

        Americans make up most of the population in many of the communities designated as high

        crime areas. See David A. Harris, Factors for Reasonable Suspicion: When Black and

        Poor Means Stopped and Frisked, 69 Ind. L.J. 659, 677–78 (1994). Although presence in

        a high crime area alone is insufficient to justify a Terry stop, presence combined with

        another factor, such as “nervous, evasive behavior” or flight (even if unprovoked),

        constitutes reasonable suspicion sufficient to render the stop constitutional. Illinois v.

        Wardlow, 528 U.S. 119, 124, 127 (2000).

               Notably, for some, avoidance of police may evince an act of self-preservation.

        Indeed, as Justice Stevens put it:


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               Among some citizens, particularly minorities and those residing in high
               crime areas, there is also the possibility that the fleeing person is entirely
               innocent, but, with or without justification, believes that contact with the
               police can itself be dangerous, apart from any criminal activity associated
               with the officer’s sudden presence. For such a person, unprovoked flight is
               neither “aberrant” nor “abnormal.”

        Id. at 132 (Stevens, J. concurring). That reality may explain why over 60% of the people

        stopped and searched in New York City each year from 2003 until 2023 were innocent,

        and why Black and Latinx people consistently represented over 50% and 25% of the people

        stopped, respectively. See Stop-and-Frisk Data, New York Civil Liberties Union (Mar.

        14, 2019), https://www.nyclu.org/en/stop-and-frisk-data [https://perma.cc/5HYB-5N9H].

               What’s more, if convicted of a firearms offense, minority male offenders are more

        likely to receive a sentence that includes a term of imprisonment as opposed to probation.

        According to a study conducted last year by the United States Sentencing Commission, Black

        and Hispanic males convicted of firearms offenses are 40.4% and 29.8%, respectively, less

        likely to receive a probationary sentence compared to White males. See 2023 Demographic

        Differences in Federal Sentencing, U.S. Sent’g Comm’n, at 29. Additionally, when sentenced

        for firearms offenses, Black and Hispanic males receive terms of imprisonment that are 2%

        and 1.4%, respectively, longer than sentences given to White males. Id. at 29.

               One can deduce from the aforementioned statistics that Black and Hispanic males

        may be disproportionately impacted by § 922(k), as they are more likely to reside in

        communities designated as high crime areas and therefore have more frequent negative

        police encounters.    And that potential disparate impact is made worse by U.S.S.G.

        § 2K2.1(b)(4)(B), which provides for a four-level enhancement when sentencing a


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        defendant convicted of a firearm offense other than § 922(k) if the firearm had an altered

        or obliterated serial number.

               I use a hypothetical offender convicted of a firearm offense under 18 U.S.C.

        § 922(a)–(p) who has no more than one prior criminal conviction to illustrate the effect of

        the enhancement. The United States Sentencing Guidelines suggest a sentencing range of

        less than a year on the low end (10–16 months) for our hypothetical offender. However, if

        the firearm has an altered or obliterated serial number, the four-level enhancement increases

        the minimum recommended sentence to just under two years in prison (21–27 months). If

        the prior conviction was a felony, a sentence at the low end of the range would require the

        offender to serve a few months more than a year (15–21 months) at minimum. The minimum

        recommended term of imprisonment increases by a year (27–33 months) if the serial number

        on the firearm is not intact. If the offender’s prior felony conviction was for a crime of

        violence or a controlled substance offense, the guidelines advise a minimum sentence of

        nearly three years (33–41 months) but increases to over four years (52–63 months) with the

        four-level enhancement. In each scenario, the offender’s sentencing range increases simply

        because the firearm he possessed had an altered or obliterated serial number.

               At bottom, mass incarceration is exacerbated by the way communities are policed,

        conduct is prosecuted, and convictions are punished. We may not know if those who most

        commonly possess firearms with removed, altered, or obliterated serial numbers are law-

        abiding citizens or not. But we do know that males of color bear the brunt of § 922

        punishments. And our decision today will likely further that injustice. Respectfully, I must

        dissent.

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        RICHARDSON, Circuit Judge, dissenting:

               This case should be an easy win for Randy Price. The Government wants to punish

        him for conduct that falls within the plain text of the Second Amendment. So the

        Government must demonstrate that its regulation—18 U.S.C. § 922(k)—can be justified

        by our Nation’s historical tradition of firearm regulation. United States v. Rahimi, 144 S.

        Ct. 1889, 1898 (2024) (“[W]hen the Government regulates arms bearing conduct, as when

        the Government regulates other constitutional rights, it bears the burden to justify its

        regulation.” (quotation omitted)). Rather than doing so, however, the Government offers

        blanket assertions backed by scant evidence and then cobbles together an amalgam of

        unrelated historical regulations that bear no relevant similarity to the law at issue. That

        should resolve it: The Government has not carried its burden, so the Government loses.

               Rather than holding the Government to its burden, today’s decision loosens the rules

        in the Government’s favor. Adopting a limitation that appears nowhere in the Second

        Amendment’s plain text, the majority requires Price to prove that unmarked firearms are

        in common use for lawful purposes. It then dismisses Price’s challenge by speculating

        about why a law-abiding citizen would prefer an unmarked firearm and drawing illogical

        inferences. This is not how Second Amendment challenges are supposed to proceed. I

        thus respectfully dissent.

        I.     Section 922(k) regulates conduct that falls within the plain text of the Second
               Amendment.

               The Second Amendment provides: “A well regulated Militia, being necessary to

        the security of a free State, the right of the people to keep and bear Arms, shall not be


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        infringed.” U.S. Const. amend. II. In New York State Rifle & Pistol Ass’n v. Bruen, 597

        U.S. 1 (2022), the Supreme Court established a two-step framework for assessing Second

        Amendment challenges. Price asserts a facial challenge,1 so Bruen’s first step requires him

        to show that § 922(k)2 regulates conduct protected by the Second Amendment’s plain text.

        Id. at 17, 24; Rahimi, 144 S. Ct. at 1907 (Gorsuch, J., concurring); id. at 1932–33 (Thomas,

        J., dissenting). Our inquiry therefore includes three discrete questions: (1) does § 922(k)

        apply to “the people”?; (2) is a firearm with an obliterated serial number an “Arm”?; and

        (3) is possession of such a firearm an act of “keep[ing]” or “bear[ing]” arms? Bruen, 597

        U.S. at 31–32; see also Bianchi v. Brown, No. 21-1255, slip op. at 116 (4th Cir. Aug. 6,

        2024) (Richardson, J., dissenting).

               The answer to each inquiry is yes, so § 922(k) is presumptively invalid under the

        Second Amendment. The Government does not dispute that the statute applies to the “the

        people.”3 District of Columbia v. Heller, 554 U.S. 570, 580 (2008); see also Bianchi, slip

        op. at 116–17 (Richardson, J., dissenting). Nor does it contest that possessing a firearm is

        conduct protected by the Second Amendment. See Rahimi, 144 S. Ct. at 1897–99; Heller,




               1
                 A plaintiff prevails on a facial challenge if he “establish[es] that no set of
        circumstances exists under which the [challenged statute] would be valid.” United States
        v. Salerno, 481 U.S. 739, 745 (1987).
               2
                 Section 922(k) makes it “unlawful for any person knowingly . . . to possess or
        receive any firearm which has had the importer’s or manufacturer’s serial number removed,
        obliterated, or altered and has, at any time, been shipped or transported in interstate or
        foreign commerce.”
               3
                 The Government concedes that Price is part of “the people,” at least for purposes
        of this appeal.
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        554 U.S. at 592. What it contests is that a firearm with a removed, obliterated, or altered

        serial number is an “Arm” within the plain meaning of that term. But in District of

        Columbia v. Heller, the Supreme Court explained that the term “Arms” “extends, prima

        facie, to all instruments that constitute bearable arms, even those that were not in existence

        at the time of the founding.” 554 U.S. at 582. A firearm, at risk of stating the obvious, is

        a bearable arm. See Rahimi, 144 S. Ct. at 1897–99 (implicitly determining that § 922(g)(8),

        which prohibits certain individuals from “possess[ing] . . . any firearm,” falls within the

        plain text of the Amendment); see also id. at 1933 (Thomas, J., dissenting) (“It is

        undisputed that § 922(g)(8) targets conduct encompassed by the Second Amendment’s

        plain text.”). And whatever effect the lack of a serial number has on the statute’s

        constitutionality, it does not transform a firearm into something else. Number or no

        number, a firearm is still a “weapon[] of offense” that can be worn for “defence . . . or

        use[d] in wrath to cast at or strike another.” Heller, 554 U.S. at 581 (first quoting 1 Samuel

        Johnson, Dictionary of the English Language 106 (4th ed 1773); and then quoting 1

        Timothy Cunningham, A New and Complete Law Dictionary (1771)).                   So § 922(k)

        regulates “Arm[s]” within the plain meaning of the Second Amendment.

               The majority does not consider, let alone mention, any of these textual prerequisites.

        Instead, it contends that Price must prove at Bruen’s first step that firearms with obliterated

        serial numbers are in common use for lawful purposes. Majority Op. at 8–14. In defense

        of this atextual notion, the majority observes that the Second Amendment’s text includes,

        among other things, the phrase “the right of the people.” Id. at 8. It also notes that Heller

        found that the right of the people must be interpreted based on its historic scope. Id. (citing

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        Heller, 554 U.S. at 599–601). And when interpreting United States v. Miller, 307 U.S. 174

        (1939), Heller stated that the “historical understanding of the scope of the right” did not

        extend to weapons “not typically possessed by law-abiding citizens for lawful purposes.”

        Id. at 11 (quoting Heller, 554 U.S. at 624–25). From this, the majority concludes that

        weapons not in common use for lawful purposes fall outside the plain meaning of the words

        “right of the people,” and therefore that any challenger must prove his weapon is in

        common use before we even proceed to Bruen’s second step. Id. at 12–14.

               I have already explained elsewhere why Heller requires the government to prove

        that a weapon is both dangerous and unusual at Bruen’s second step. Bianchi, slip op. at

        121–22 (Richardson, J., dissenting). Here, I will add that the majority, like the majority in

        Bianchi v. Brown, No. 21-1255, misunderstands the relationship between the Second

        Amendment’s plain text and our Nation’s historical tradition of firearm regulation. Put

        simply: Both of Bruen’s steps—text and historical tradition—are used to determine the

        original scope of the preexisting right. Compare Bruen, 597 U.S. at 24 (explaining that

        when an individual’s conduct falls within the plain text of the Amendment, we presume it

        falls within the right), with id. at 31 (using “historical analysis” to identify the “scope” of

        the Second Amendment right (citation omitted)); see also Bianchi, slip op. at 123–24

        (Richardson, J., dissenting). Sometimes, we know a person’s conduct is unprotected

        because it isn’t even covered by the text. Other times, an individual’s conduct does fall

        within the plain text, but the government nonetheless proves “that its firearm regulation is

        part of the historical tradition that delimits the outer bounds of the right to keep and bear



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        arms.” Bruen, 597 U.S. at 19 (emphasis added). In both instances, we have determined

        that the regulation is consistent with the original scope of the right.

               With respect to dangerous and unusual weapons, Bruen explained that Heller

        derived this limit by “rel[ying] on the historical understanding of the Amendment to

        demark the limits on the exercise of that right.” Id. at 21. So while dangerous and unusual

        weapons are not within the scope of the Second Amendment, it is because history and

        tradition show that the government can permissibly ban them, not because they fall outside

        the Amendment’s plain text. The majority therefore errs in requiring Price to prove that

        his weapon is in common use at the plain-text stage.

               The Supreme Court’s recent decision in United States v. Rahimi shows how

        untenable the majority’s position is. Whereas the majority holds that “the limitations on

        the Second Amendment right . . . are inherent in the meaning of ‘the right of the people’

        and should be addressed at [Bruen’s] first step,” Majority Op. at 11, the Court in Rahimi

        explicitly stated that the government bears the burden to justify its law any time it

        “regulates arms-bearing conduct,” Rahimi, 144 S. Ct. at 1897. In other words, the burden

        flips to the government—and we transition to Bruen’s second step—as soon as the

        challenger establishes that the regulation covers “arms-bearing conduct.”4 And notably,


               4
                This explains why the Government’s alternative step-one argument fails from the
        jump. The Government argues that even if § 922(k) covers protected conduct, it does not
        “infringe” the Second Amendment right because it allegedly imposes a marginal, at most,
        burden on a person’s ability to defend himself. See Opening Br. at 18–20. Several district
        courts have upheld § 922(k) on this basis. See, e.g., United States v. Holton, 639 F. Supp.
        3d 704, 710–11 (N.D. Tex. 2022); United States v. Serrano, 651 F. Supp. 3d 1192, 1210–
        11 (S.D. Cal. 2023). But as Rahimi shows, Bruen’s first step does not inquire into the

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        the Court didn’t limit “arms-bearing conduct” to “conduct that historically fell within the

        traditional scope of the right to keep and bear arms.” Instead, historical limitations on the

        scope of the right are relevant to establish whether the government is permitted to regulate

        the “arms-bearing conduct” in the manner it does—the step-two inquiry. Id.

               This is supported by what the Court actually did in Rahimi. There, the Court

        concluded that “[a]n individual found by a court to pose a credible threat to the physical

        safety of another may be temporarily disarmed consistent with the Second Amendment.”

        Id. at 1903. Put differently, the Court found that the right to keep and bear arms guaranteed

        by the Second Amendment has a limitation that applies, at least temporarily, when a

        dangerous person poses a credible threat of future violence. But although the Court was

        addressing a historical limitation outlining one facet of the “scope of the Second

        Amendment,” id. (quoting Bruen, 597 U.S. at 31), it didn’t couch that analysis in a step-

        one interpretation of the word “right” or “people.” Instead, the Court upheld the law in

        question because “[o]ur tradition of firearm regulation allows the Government” to regulate

        in the way it had. Id. at 1902. And it did so by finding that the law at issue there had

        historical analogues for both its “why” and “how.” Id. at 1903. Those are quintessential

        step-two questions. Id.; see also Bruen, 597 U.S. at 29.




        magnitude of injury inflicted by a firearm regulation. Rather, the question is simply
        whether a law regulates arms-bearing conduct, which § 922(k) does.
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        II.    The Government has failed to show that § 922(k) is consistent with our Nation’s
               historical tradition of firearm regulation.

               Since § 922(k) regulates protected conduct, the Government must prove that it is

        consistent with our Nation’s historical tradition of firearm regulation. Bruen, 597 U.S. at

        18; Rahimi, 144 S. Ct. at 1897–98. This requires the Government to reason by analogy

        and establish that § 922(k) is “relevantly similar” to past laws in our regulatory tradition.

        Bruen, 597 U.S. at 29. The central considerations in this inquiry are “how” and “why” a

        law burdens the Second Amendment right. Id. In other words, whether past and present

        regulations “impose a comparable burden” and “whether that burden is comparably

        justified” are the central considerations for analogical reasoning.      Id.   Our ultimate

        objective is to determine “whether the challenged regulation is consistent with the

        principles that underpin our regulatory tradition.” Rahimi, 144 S. Ct. at 1898; Bianchi, slip

        op. at 123–24 (Richardson, J., dissenting).

               The Government offers two buckets of historical analogues to justify § 922(k).

        First, the Government argues that § 922(k) is analogous to the historical tradition of

        regulating dangerous and unusual weapons. Second, the Government argues that § 922(k)

        is analogous to an assortment of inspection and marking statutes and commercial

        regulations stretching from the colonial to Antebellum periods. The Government claims

        that these regulations, considered individually or collectively, establish § 922(k)’s

        constitutionality.

               As I explain below, I disagree. The tradition of regulating dangerous and unusual

        weapons distinguished between classes or types of weapons based on their functional


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        characteristics. But serial numbers are ubiquitous features that have no bearing on a

        weapon’s functionality. So firearms that lack them do not compose a separate class of

        arms that are dangerous and unusual. Additionally, the Government’s analogy fails

        because the Government did not offer reliable evidence that firearms without a serial

        number are dangerous and unusual.

               Nor do the Government’s remaining analogues establish § 922(k)’s historical

        pedigree. The Government first offers several laws that required inspection and marking

        of firearms and gunpowder, but these laws targeted meaningfully distinct problems from

        those addressed by § 922(k). It then puts forth a series of restrictions on firearm and

        gunpowder trade, yet it offers no evidence that these laws burdened any member of the

        political community’s right to keep or bear arms, and the historic justification for these

        laws is even more far afield from that of the previous ones. While relevantly similar

        analogues might exist, the Government has not furnished any here. So I conclude that the

        Government has not carried its burden of proof at Bruen’s second step. See Bruen, 597

        U.S. at 25 n.6 (“Courts are . . . entitled to decide a case based on the historical record

        compiled by the parties.”).

               A.     The Government has not shown that § 922(k) is analogous to historic
                      laws regulating dangerous and unusual weapons.

               The Government’s primary argument is that § 922(k) is analogous to historical laws

        regulating dangerous and unusual weapons. According to the Government, firearms with

        removed, obliterated, or altered serial numbers have no lawful utility and are only used by

        those intending to engage in unlawful activity. Nor are these arms typically possessed by


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        law-abiding citizens for lawful purposes. So the Government asserts that § 922(k) bans

        arms that fall under the tradition of regulating dangerous and unusual weapons.

               I agree that history and tradition demonstrate that the government may regulate or

        ban dangerous and unusual weapons. See Bianchi, slip op. at 121–46 (Richardson, J.,

        dissenting). But § 922(k) is not relevantly analogous to this tradition. The tradition stands

        for the principle that the government can ban the possession or carry of classes of weapons

        with certain shared functional characteristics if that class of weapons is dangerous and

        unusual. It does not stand for the principle that the government can ban the possession or

        carry of all weapons that have or don’t have certain nonfunctional characteristics, even if

        weapons with those characteristics are unusual. We can see this by working through the

        relevant precedent and history in reverse-chronological order.

               Each time the Supreme Court has discussed or applied this tradition, it has

        considered whether the banned weapons as a “class” or “type” are dangerous and unusual.

        See Miller, 307 U.S. at 179 (“kind” of weapon); Heller, 554 U.S. at 628 (“class of arms”);

        id. at 622–23 (“type of weapon”); Caetano v. Massachusetts, 577 U.S. 411, 419 (2016)

        (Alito, J., concurring) (“the Second Amendment . . . protects such weapons as a class”);

        Bruen, 597 U.S. at 47 (“class of firearms”). And in each case, the class of weapons in

        question was defined by physical characteristics that impacted the gun’s functioning. See

        Miller, 307 U.S. at 175 (analyzing the National Firearms Act’s ban on possession of

        “shotgun[s] having a barrel or barrels of less than 18 inches in length”); Heller, 554 U.S.

        at 574 (analyzing D.C. Code §§ 7-2501.01(12), 7-2502.01(a), 7-2502.02(a)(4) (2001),

        which banned the possession of “pistols,” defined as “any firearm originally designed to

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        be fired by use of a single hand or with a barrel less than 12 inches in length”); Bruen, 597

        U.S. at 1 (analyzing a New York statute that required a license to carry any “pistol or

        revolver”); Caetano, 577 U.S. at 414 n.1 (Alito, J., concurring) (analyzing a Massachusetts

        statute that banned any “portable device or weapon from which an electrical current,

        impulse, wave or beam may be directed, which current, impulse, wave or beam is designed

        to incapacitate temporarily, injure or kill”); see also Heller v. District of Columbia (Heller

        II), 670 F.3d 1244, 1286 n.10 (D.C. Cir. 2011) (Kavanaugh, J., dissenting) (analyzing a

        District of Columbia statute that “bans semi-automatic rifles by listing specific guns that

        . . . share the characteristics of being a long gun and firing in a semi-automatic manner, and

        typically have features such as protruding pistol grips”). The Court then asked whether the

        class of weapons—i.e., weapons with the defined functional characteristics—was

        dangerous and unusual. See Miller, 307 U.S. at 178; Heller, 554 U.S. at 628–29; Bruen,

        597 U.S. at 47; Caetano, 577 U.S. at 420 (Alito, J. concurring); see also Heller II, 670 F.3d

        at 1286–87 (Kavanaugh, J., dissenting). Thus, the Court has always assessed whether the

        banned weapons were dangerous and unusual on a class-wide level, and the Court has

        always considered classes that were defined by shared functional characteristics.

               This makes sense when you look at the tradition the Court is drawing upon. The

        relevant nineteenth-century cases that undergird the dangerous-and-unusual tradition also

        addressed statutes that prohibited the possession or carry of classes of weapons defined by

        functional—not nonfunctional—characteristics. See Aymette v. State, 21 Tenn. (2 Hum.)

        154, 155 (1840) (prohibiting the concealed carry of “any bowie-knife, or Arkansas

        toothpick, or other knife or weapon that shall in form and shape resemble” such weapon

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        (emphasis added)); Fife v. State, 31 Ark. 455, 461 (1876) (prohibiting “any pistol of any

        kind whatever” and defining pistol as “a small fire-arm . . . intended to be fired from one

        hand”); State v. Workman, 35 W. Va. 367, 369 (1891) (prohibiting concealed carry of

        pistols); State v. Duke, 42 Tex. 455, 456 (1875) (prohibiting the carry of “any pistol, dirk,

        dagger, slung-shot, sword-cane, spear, brass knuckles, [or] bowie knife,” which the court

        analyzed as applied to a pistol). These cases then determined whether the proscribed class

        of weapons was dangerous and unusual by assessing whether that class of weapons was

        particularly useful for unlawful purposes (dangerous) and whether it was uncommon for

        lawful purposes (unusual). See Aymette, 21 Tenn. at 158; Fife, 31 Ark. at 461; Workman,

        35 W. Va. at 373; Duke, 42 Tex. at 458; see also Bianchi, slip op. at 141–43 (Richardson,

        J., dissenting).

               Putting this all together, we see that history and tradition permit the government to

        ban the possession or carry of certain classes of weapon, as defined by their shared

        functional features, if those classes are dangerous and unusual. But § 922(k) does not ban

        the possession of a class of firearms that share certain functional characteristics. Rather, it

        bans the possession of all firearms that share a nonfunctional characteristic—having a

        removed, altered, or obliterated serial number. Serial numbers are ubiquitous and appear

        on modern firearms of all shapes and sizes. And whether a gun has or lacks a serial number

        does not change how the gun operates as a weapon so that it is more effective for one




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        purpose or another.5 Instead, it’s more like asking whether tan-colored guns are protected

        by the Second Amendment because black guns are more common. We might think that

        there are other reasons why the government can regulate firearm color, but it wouldn’t be

        because the change in color changes the nature of the weapon. So too for guns with

        removed, obliterated, or altered serial numbers. While other historical traditions may

        justify § 922(k), the tradition of regulating dangerous and unusual weapons doesn’t.

               But even if a firearm’s functionality does not define this tradition, there’s a second

        reason why § 922(k) is not analogous to the regulation of dangerous and unusual weapons.

        Bruen places the burden of proving that a regulation resembles history and tradition on the

        government—the entity restricting liberty protected by the Second Amendment. Bruen,

        597 U.S. at 17, 19; see also Rahimi, 144 S. Ct. at 1897. But the Government has made a

        minimal effort, at best, to show that firearms with removed, obliterated, or altered serial

        numbers are either dangerous or unusual, let alone both. Indeed, it devoted only a single

        paragraph of its opening brief—spanning less than a page—to this question. And what

        evidence the Government has offered is outdated, unreliable, and arguably contradictory.

        Simply put, the Government has not carried its burden of proof.




               5
                 Other courts that otherwise reach a different outcome than I do nonetheless agree
        with me on this point. See Holton, 639 F. Supp. 3d at 712 (“[T]he presence of a serial
        number does not impair the use or functioning of a weapon in any way.” (quoting United
        States v. Marzzarella, 614 F.3d 85, 94 (3d Cir. 2010)); United States v. Reyna, No. 3:21-
        CR-41, 2022 WL 17714376, at *5 (N.D. Ind. Dec. 15, 2022) (finding that “the § 922(k)
        prohibition applies to a class of guns defined solely by a nonfunctional characteristic”);
        Serrano, 651 F. Supp. 3d at 1210.
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               Start with the Government’s first piece of evidence. In its panel briefing, the

        Government’s only evidence6 that § 922(k) prohibits dangerous and unusual weapons was

        a 1996 law review article which claimed that “[t]here are fundamentally only three reasons

        to obliterate a serial number: to avoid being tied to a burglary through possession of a

        firearm whose serial number has been reported to police; to avoid being connected to a

        crime gun one has purchased legally; and to avoid being identified through [ATF] records

        as the straw seller, or buyer, of a gun with paperwork on it.” David M. Kennedy, Anne M.

        Piehl & Anthony A. Braga, Youth Violence in Boston: Gun Markets, Serious Youth

        Offenders, and a Use-Reduction Strategy, 59 L. & Contemp. Probs. 147, 174–75 (1996).

        But it’s hard to discern how relevant this article is to present circumstances. The study

        examined usage patterns for Boston youth over five years in the 1990s. Id. at 171. It is

        thus (1) almost three decades old and (2) based on a small subset of young lawbreakers (3)

        within a single city.7 And after being confronted with the study’s other conclusions at oral


               6
                 The Government also noted the Third Circuit’s statement in United States v.
        Marzzarella that “there would appear to be no compelling reason why a law-abiding citizen
        would prefer an unmarked firearm.” 614 F.3d at 95. The majority likewise uses this
        quotation to its advantage. With respect for our sister circuit, it cited no evidence for this
        proposition. And the Government cannot meet its burden by citing an unsubstantiated
        quote from another court. It must establish facts.
               7
                  Even if this study were probative, its findings are not as clear-cut as the
        Government presents. For example, the study found that within the pool of studied
        firearms, those used for substantive crimes were 50% less likely to have an obliterated
        serial number than those associated with mere possession offenses. Kennedy, Piehl &
        Braga, supra, at 196. Based on this data point, the authors concluded that more serious
        offenders likely prefer old or stolen guns over those with obliterated serial numbers, while
        less serious offenders likely acquire arms with obliterated serial numbers for “something
        other than serious criminal intent,” such as fear of violence or self-defense. Id. at 175–76.

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        argument, the Government submitted a Rule 28(j) letter claiming that we cannot

        extrapolate from some of the study’s findings to the larger gun-owning population. See

        ECF No. 84, at 1–2 (“statistics about the subset cannot be extrapolated to the larger gun-

        owning public”).

               The majority instead finds solace in the Government’s second piece of evidence. In

        its supplemental en banc briefing, the Government cited a recently created ATF report

        showing that, between 2017 and 2021, 2.5% of firearms submitted for tracing that could

        not be traced to a purchaser had partial, incomplete, or obliterated serial numbers. Bureau

        of Alcohol, Tobacco, Firearms & Explosives, U.S. Dep’t of Just., National Firearms

        Commerce and Trafficking Assessment (NFCTA): Crime Gun Intelligence and Analysis,

        pt. 3, at 5 (2024). The majority takes this statistic and runs with it. It first relies on it to

        conclude that firearms with removed, obliterated, or altered serial numbers are not even in

        common use for criminal purposes. Majority Op. at 22–23. It then speculates from this

        that such arms must not be in common use for lawful purposes, either. Id. at 23. Basically,

        the majority posits that, because even criminals aren’t commonly using guns with

        obliterated serial numbers, law-abiding citizens also must not be using them.

               This is a remarkable leap in logic. The majority might be correct that arms with

        removed, obliterated, or altered serial numbers are not commonly used by criminals. But

        how can we infer from this fact that such weapons are not in common use for lawful

        purposes? One might naturally assume that law-abiding and law-breaking citizens have


        This finding seemingly undercuts any claim that firearms without serial numbers are
        particularly useful for criminal activity.
                                                      75
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        different needs and own guns for different reasons. I simply do not understand how we

        could equate the two when determining whether a particular firearm is commonly used.8

               Furthermore, if arms with removed, obliterated, or altered serial numbers really

        aren’t commonly used by criminals, as the majority seems to think, then doesn’t this

        undercut the idea that such arms are “dangerous,” as that term was historically understood?

        Our historical tradition allows the government to ban classes of weapons—defined by

        shared functional characteristics—if they are particularly useful for unlawful activity

        (dangerous) and uncommon for lawful purposes (unusual). Bianchi, slip op. at 145–46

        (Richardson, J., dissenting). When nineteenth-century courts considered whether a class

        of weapons was dangerous, an important consideration was whether that class was

        commonly used by criminals and lawbreakers. See, e.g., Aymette, 21 Tenn. at 158

        (describing such weapons as those “usually employed in private broils, and which are

        efficient only in the hands of the robber and the assassin”); English v. State, 35 Tex. 473,

        475 (1871) (describing such weapons as “those which are employed in quarrels and broils,

        and fights between maddened individuals”); Workman, 35 W. Va. at 373 (describing such

        weapons as those “usually employed in brawls, street fights, duels, and affrays, and are



               8
                 Even if this statistic supported the asserted claim, any such support is undermined
        by the report’s questionable history. At argument, the Government was asked about
        inconsistencies or errors in the ATF’s report that called its validity into question. See Oral
        Arg. at 1:06:30–1:08:55. After Government counsel discussed the “apparent discrepancy”
        with the ATF, see ECF No. 84, the ATF rescinded and reissued the report with different
        numbers, see ECF No. 86. In a Rule 28(j) letter, Government counsel now claims that the
        report is accurate. Id. We sometimes permit a party, like the Government, to rely on its
        own reports to support its position. But I would do so only when the report is both reliable
        and actually supports the asserted claim.
                                                     76
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        only habitually carried by bullies, blackguards, and desperadoes”). Yet arms lacking serial

        numbers are functionally no different than arms that have them. And apparently, according

        to the majority, they are not even commonly used by criminals. If that’s right, then they

        cannot be dangerous and unusual weapons that fall outside the scope of the Second

        Amendment.9

               The majority ultimately relies on its self-supported conviction that no law-abiding

        citizen would prefer an unmarked firearm for lawful purposes. The majority interprets

        Heller to require us to query whether “common-sense reasons exist for a law-abiding

        citizen to prefer a particular type of weapon for a lawful purpose like self-defense.”

        Majority Op. at 20. But Heller established no such thing. Rather, the Court examined the

        practices of the American people and identified the weapons they commonly own for

        lawful purposes.10 And though it mentioned several reasons why “the American people”


               9
                Of course, the majority does not think that a weapon must be dangerous to be
        banned, so long as it is unusual. See Majority Op. at 18–21. But I have already explained
        why this proposition is false and misreads Heller, Bruen, and our historical tradition. See
        Bianchi, slip op. at 121–46 (Richardson, J., dissenting).
               10
                   It is true the Heller did not explicitly rely on statistics or otherwise cite evidence
        to support its statement that handguns are “overwhelmingly chosen by American society
        for th[e] lawful purpose” of self-defense. 554 U.S. at 628. But that is because neither party
        in that case contested that handguns are in common use for lawful purposes. See Brief of
        Respondent at 46, Heller, 554 U.S. 570 (No. 07-290); Reply Brief of Petitioner at 20–22,
        Heller, 554 U.S. 570 (contesting the common-use inquiry generally, but not the idea that
        handguns are in common use). Moreover, the briefing in Heller was replete with empirical
        evidence for the widespread ownership of and lawful uses for handguns. See, e.g., Amicus
        Brief of the National Rifle Association and the NRA Civil Rights Defense Fund at 26,
        Heller, 554 U.S. 570 (estimating that private citizens lawfully owned 60–65 million
        handguns at that time); see generally Amicus Brief of International Law Enforcement
        Educators and Trainers Association et al., Heller, 554 U.S. 570 (citing empirical studies

                                                       77
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        may prefer handguns for self-defense, it clarified that “[w]hatever the reason,” the fact of

        common usage for lawful purposes was enough to make the District of Columbia’s

        handgun ban constitutional. 554 U.S. at 629. Heller thus grounded the scope of the Second

        Amendment in the customs of the American people, not the speculations of federal judges.

        Bianchi, slip op. at 158 (Richardson, J., dissenting).

               In the end, I do not know whether or why law-abiding citizens might prefer firearms

        with removed, obliterated, or altered serial numbers. Don’t get me wrong, I could take the

        majority’s tactic and surmise reasons. Maybe some people inherit these weapons from

        relatives and choose to keep them because of their sentimental value.11 Or maybe some

        have no intent to use the firearm to break the law but are still uncomfortable with the

        government potentially tracking their purchases. After all, many law-abiding citizens

        prefer to use encrypted messaging platforms and disable location tracking on their cell

        phones for similar reasons. See United States v. Chatrie, No. 22-4489, 2024 WL 3335653,

        at *43–44 (4th Cir. July 9, 2024) (Wynn, J., dissenting). But whatever the answer is to this



        for widespread handgun use for self-defense); see also Heller, 554 U.S. at 700–01 (Breyer,
        J., dissenting) (summarizing some of this evidence). Here, by contrast, the extent of and
        purposes behind ownership of firearms with removed, obliterated, or altered serial numbers
        are “certainly . . . not within judicial notice,” Miller, 307 U.S. at 178, so the Government
        must produce objective evidence that such weapons are not commonly held for lawful
        purposes, see Caetano, 577 U.S. at 420 (Alito, J., concurring); N.Y. State Rifle & Pistol
        Ass’n, Inc., v. Cuomo, 804 F.3d 242, 356 (2d Cir. 2015) (explaining that the common-use
        inquiry is an “objective and largely statistical” one that considers “subjective motives” of
        actual gun owners); Duncan v. Becerra, 970 F.3d 1133, 1147 (9th Cir. 2020) (same); Hollis
        v. Lynch, 827 F.3d 436, 449 (5th Cir. 2016) (same).
               11
                  Even if a relative obliterated the serial number with ill intent, that would not
        necessarily mean that the person who ends up possessing it does so with ill intent. But see
        Majority Op. at 23–25.
                                                     78
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        question, the burden is not on me or Price to provide it. It is the Government’s burden,

        which it must carry by offering something more than mere conjecture. If that’s too tall a

        task for the Government, then maybe it confirms that the tradition of regulating dangerous

        and unusual weapons was never the right analogue for § 922(k) in the first place.12

              B.     The Government’s other historic regulations are not analogous to
                     § 922(k).

              Besides the tradition of regulating dangerous and unusual weapons, the Government

        also points to an assortment of inspection and marking laws and commercial restrictions

        from before and after the Founding. But none of these regulations justify § 922(k).

              The Government’s best historical evidence is early state regulations requiring the

        inspection and marking of gunpowder and firearm barrels. Between 1776 and 1820, five

        states required gunpowder to be inspected and marked for quality and prohibited the sale

        of unmarked powder.13      One state went a step further and prohibited anyone from



              12
                  The majority’s ivory-grip hypothetical only underscores this point. The majority
        may be right that the government can punish individuals for having illegally imported
        ivory, even if they attach it to a weapon. But surely the majority does not think this is
        because ivory-plated arms are dangerous and unusual. Rather, we would assess such a
        restriction by considering, for example, the government’s authority to regulate contraband
        and asking whether that authority historically extended to contraband attached to a weapon.
              13
                  Act of Oct. 4, 1776, ch. VI, §§ 1, 3, 1776–1777 N.J. Acts 6, 6–7; An Act for the
        Inspection of Gunpowder, Manufactured Within this State, in 8 Records of the State of
        Rhode Island and Providence Plantations in New England 18, 18–19 (1863); Act of Apr.
        18, 1795, ch. MDCCCXLVI, § 107, in 3 Laws of the Commonwealth of Pennsylvania,
        From the Fourteenth Day of October, One Thousand Seven Hundred 240, 243 (1810); Act
        of Mar. 1, 1809, ch. 52, §§ 3, 6, in 2 The General Laws of Massachusetts, From the
        Adoption of the Constitution to February, 1822, at 198, 199 (1823); Act of June 21, 1820,
        ch. II, §§ 3–6, in The Laws of the State of New-Hampshire; with the Constitutions of the
        United States and of the State Prefixed 276, 277–78 (1830).
                                                    79
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        “fraudulently alter[ing] or defac[ing] any mark” placed by an inspector.14 Similarly, two

        states in the early nineteenth century required inspectors to proof and mark firearm barrels

        and prohibited the sale of unmarked weapons.15 Both also prohibited anyone from altering

        the marks once in place.16

               To the Government’s credit, these laws arguably imposed a “comparable burden”

        on the right to keep and bear arms as § 922(k) does. Bruen, 597 U.S. at 29. Like § 922(k),

        they required firearms and gunpowder to display a government-imposed mark that

        conveyed certain information. Of course, only three of them explicitly forbade the

        alteration of these marks.      And unlike § 922(k), none of them prohibited the mere

        possession of unmarked firearms and gunpowder. Still, I grant that these laws and § 922(k)

        may share similar-enough burdens.

               Even so, these regulations were not “comparably justified” to § 922(k). Id. at 39.

        As the Government notes, § 922(k) exists to help law enforcement recover stolen firearms

        and trace firearms that have been used in crimes. Opening Br. at 27; see also Omnibus

        Crime Control and Safe Streets Act of 1968, Pub. L. No. 90-351, 82 Stat. 197, 197 (“To

        assist State and local governments in reducing the incidence of crime, to increase the

        effectiveness, fairness, and coordination of law enforcement and criminal justice systems


               14
                    Act of Mar. 1, 1809, supra, § 6, at 199–200.
               15
                  Act of Mar. 8, 1805, §§ 1, 3, in 3 The Laws of the Commonwealth of
        Massachusetts, From November 28, 1770 to February 18, 1807, at 259, 259–60 (1807);
        Act of Mar. 10, 1821, ch. CLXII, §§ 1, 3, in 2 Laws of the State of Maine; to Which Are
        Prefixed the Constitution of the U. States and of Said State 685, 685 (1821).
               16
                    Act of Mar. 8, 1805, supra, § 4, at 261; Act of Mar. 10, 1821, supra, § 4, at 686.
                                                       80
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        at all levels of government, and for other purposes.”). But the historic gunpowder- and

        firearm-marking laws were enacted for product-quality purposes: They ensured that

        weapons were effective and did not jeopardize public safety when deployed. For instance,

        the Pennsylvania statute explained that gunpowder inspection and marking was necessary

        because some powder was of “inferior qualit[y]” and “its defects [were] not discovered

        until brought into actual use.” Act of Apr. 18, 1795, supra, at 240. Similarly, the

        Massachusetts law explained that barrel proofing and marking were required because

        otherwise “many [firearms] may be introduced into use which are unsafe, and thereby the

        lives of the citizens be exposed.” Act of Mar. 8, 1805, supra, at 259. So these regulations

        did not “impos[e] similar restrictions for similar reasons” as § 922(k) does and are thus not

        relevantly similar to it. Rahimi, 144 S. Ct. at 1898.

               It is no answer to say that these laws and § 922(k) are analogous because they all

        promote public safety. Basically every firearm regulation aims to reduce the risk of danger

        to the public in one form or another. If this were the proper level of generality at which to

        assess a law’s justification, then every modern restriction would share a comparable

        justification with every past one. But we know this is not how the Supreme Court has

        conducted its analysis. Instead, the Court has focused on more refined government

        justifications, such as targeting dangerous and unusual weapons, Heller, 554 U.S. at 627,

        limiting the right to those with a special need, Bruen, 597 U.S. at 38, or temporarily

        disarming individuals who threaten physical harm to others, Rahimi, 144 S. Ct. at 1903.

        And it has simultaneously warned against defining a regulation’s justification so broadly

        as to eviscerate its historic roots. Bruen, 597 U.S. at 30–31 (explaining that historic

                                                     81
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        “sensitive places” regulations do not justify declaring whole cities gun-free zones); cf.

        Rahimi, 144 S. Ct. at 1903 (rejecting the argument that historic surety and affray laws

        support disarming those who are not “responsible”). Thus, when reasoning by analogy,

        our task is to zero in on the particular “problems” a law addresses and determine whether

        historic regulations addressed analogous problems in an analogous manner. Rahimi, 144

        S. Ct. at 1898. Here, the justification for historic inspection and marking laws—ensuring

        firearm effectiveness and safety—is not relevantly similar to the justification for

        § 922(k)—solving crime.

               Besides inspection and marking laws, the Government also analogizes § 922(k) to

        various colonial regulations on the sale of firearms and gunpowder. Before Independence,

        several colonies prohibited anyone from selling or providing firearms or ammunition to

        Native Americans.17 Similarly, two colonies prohibited the exportation of gunpowder

        outside their jurisdictions without a license, while one state prohibited the selling of


               17
                  1 Records of the Governor and Company of the Massachusetts Bay in New
        England 196, 196 (1853); An Act Concerning Trade with the Indians (1650), in 1
        Proceedings and Acts of the General Assembly of Maryland, January 1637/8–September
        1664, at 307, 307 (William Hand Browne ed., 1883); Acts of Assembly, Mar. 1657–8, Act
        XVII, in 1 William Waller Hening, The Statutes at Large: Being a Collection of All the
        Laws of Virginia, From the First Session of the Legislature, in the Year 1619, at 441, 441
        (1823); 1 The Public Records of the Colony of Connecticut, Prior to the Union with New
        Haven Colony, May, 1665, at 49, 182 (J. Hammond Trumbull ed., 1850); Act of Oct. 22,
        1763, ch. DVI, § 1, in 6 Statutes at Large of Pennsylvania from 1682 to 1801, at 319, 319–
        20 (1899).
               The Government also claims that Connecticut banned residents from selling
        firearms outside the colony. But it is unclear whether this restriction was one and the same
        with Connecticut’s prohibition on selling arms to Native Americans or whether this was a
        separate and broader prohibition. See 1 The Public Records of the Colony of Connecticut,
        supra, at 138–39, 145–46. And even if the Government were correct, this is the only
        regulation of its kind that the Government cites.
                                                    82
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        gunpowder in a major town without a license.18 The Government argues that these

        regulations are analogous to § 922(k) because they imposed de minimis burdens on the

        right to self-defense and were designed to keep weapons out of dangerous hands.

               Contrary to the Government’s claims, these statutes are not analogous to § 922(k).

        The Government offers no evidence that these laws burdened the ability of any member of

        the political community19 to keep or bear arms. So even if § 922(k) only imposes a minimal

        burden, these laws still are not analogous because they imposed no burden at all.

        Furthermore, like the inspection and marking statutes, they did not share a similar

        justification to § 922(k): The government’s interest in solving crimes is not relevantly

        similar to the government’s interests in keeping arms away from dangerous people outside


               18
                  Powder § 2 (1645), in The Colonial Laws of Massachusetts Reprinted From the
        Edition of 1672, at 125, 126 (1887) (prohibiting the transportation of gunpowder outside
        the colony without a license); An Act for Encouraging the Manufactures of Salt Petre and
        Gun Powder (1775), in 15 The Public Records of the Colony of Connecticut, supra, at 191
        (prohibiting the exportation of gunpowder outside the colony without a license); An Act
        Regulating the Storage, Safe Keeping, and Transportation of Gunpowder in the Town of
        Providence (1821), in The Charter and Ordinances of the City of Providence, with the
        General Assembly Relating to the City 47, 48 (1845) (prohibiting the sale of gunpowder
        within the town of Providence without a license).
               19
                   Native Americans were not considered a part of the political community—or in
        other words, were not a part of the “the people”—at the Founding. See Angela R. Riley,
        Indians and Guns, 100 Geo. L.J. 1675, 1685–98 (2012); see also United States v. Carpio-
        Leon, 701 F.3d 974, 978 n.* (4th Cir. 2012). Similarly, restrictions on exporting
        gunpowder ensured that gunpowder would not leave the political community and go
        somewhere else. The only law that potentially burdened the rights of members of the
        political community was the city of Providence’s prohibition on selling gunpowder without
        a license. But though this law burdened the ability to sell gunpowder, the Government
        provides no evidence that requiring sellers to acquire licenses burdened anyone’s ability to
        acquire gunpowder. And insofar as this law did burden the Second Amendment right, it is
        an outlier among the Government’s other evidence. Bruen, 597 U.S. at 46 (doubting that
        three colonial regulations, let alone one, could establish a historical tradition).
                                                    83
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        the polity or ensuring safe transport of highly flammable gunpowder. So these laws and

        § 922(k) are analogous in neither their “how” nor their “why.”20

                                        *             *              *

               Section 922(k) seems like a sensible policy. But Bruen did not instruct us to decide

        cases based on good vibes. It placed the burden on the government to prove that a

        challenged regulation has a historical pedigree. Rather than carrying this burden, the

        Government offers halfhearted and surface-level arguments with the expectation that we

        will squint and say: “Well, good enough.” We should expect more from the government,

        especially when constitutional liberties are at stake. I thus respectfully dissent.




               20
                  Judge Agee would decide this case (presumably at step two) by holding that Price
        cannot facially challenge § 922(k) because he is a violent felon. See Concurring Op. at 4
        (Agee, J., concurring). But whether the Second Amendment allows the government to
        permanently prohibit felons, or at least violent felons, from possessing arms is a complex
        textual and historical question that should be resolved in a different case. In our only post-
        Bruen decision on this case, the panel majority declined to engage in a text-and-history
        analysis of this question. See United States v. Canada, 103 F.4th 257, 258–59 (4th Cir.
        2024). And the Government has not briefed this issue in this appeal. So I would not reach
        this complicated question today.
                                                      84
